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fifm'rn mrs information m identify your case

Uriited Siatee Banl<:ruptcy Court for the; §
D;St{ict Of Connecticut §

§
Case number </rr<nowm' Chapler you are filing under;
m Chapier 7 §

§

 

53 Chapter11
ll Chapter12 . . ,
§ chagra 13 n Checl< ii this is an

amended filing

 

Oificial Form 101
Voluntary Petition for lndividuals Filing for Bankruptcy ms

The bankruptcy forms use you and Debtor 'i to refer to a debtor filing alone. A married couple may file a bankruptcy case together-caller.i a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car, When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2l The
same person must be Debtor 1 in all of the forms.

 

Be as complete and accurate as possiblel |f two married people are filing together, both are equally responsible for supplying correct
informationx if more space is needed, attach a eeparate sheet to this form. On the top of any additional pages, write your name and case number
(if known}, Answer every question

m ldentify Yourself

 

 

 

Aoout benth 'l:" " " _ _ » ll _ : ~_ § ` § ` v About`Debtor 2';'{Spouee_0nly in a Joint .Case):
1. Your full name ' § ' y n l l l l
§ Write the name that is on your ,

government~issuecl picture Antomette _
identification (for example F”S€ name -1. F‘rst name
your drivers license or M~ ; »
passport), Nliddle name Nliodle name

Murray ' "

Bring your picture `
identification to your meeting La$'f name ' Laet name
with the trustee

 

 

 

 

 

 

 

 

 

 

M .
Suinx (Sr., Jr., ll, |li) ,' § Suiiix (Sr., Jr., l!, l|l)
2, All other names you Antoinette
have used in the last 8 pth name gm name
years
include your married or M§dd*€ name x . Mldd\e name
maiden names Murray ,
i.ast name v y i.ast na roe
Antoinette ._ .
Firsi: name _ First name
Nlidd\e name § Mi<:ldle name
Morris
i_ast name ' § Last name
3. Only the last 4 digits of
yQur So¢ia§ Security XXX _ XX _ .-5-- ~§--- -2-.--¢ ».§_-- XXX _ XX _ .__..". ________ _.,._.. .__._..
number or federal OF< on
lndividual Taxpayer
ldentification number SXX " XX ”"._..__ .._._* ___ ______ , ~ 9 XX ”" XX '“__.._ _____ _,..__ _____.
(lTlN}

 

 

Officiai Forrn 101 Voluntary Petition for individuals Filing for Bankruptcy page 1

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Antoinette M.

Debior 1

Murray

 

l'-'irst Name lVlid<lle Na.=iz‘:ie

Laet Na me

Page 2 of 61

Case number irrkn.',~~w,;

 

4. Any business names
and Employer
lderitil`lcation Numbers
(ElN) you have used in
the last 8 years

lnc|ude trade names and
doing business as names

'/'S§bmii`b_ebipr ,1,,-,

Xl l have not used eny business names or Ele.

l Abeu.r:i`)ebr¢rz.rspouse erin ma Jr>ihc essex

il l have not used any business names or Ele.

 

Business name

Buslness name

 

 

 

 

 

 

 

 

 

 

Business name _- Business name
§Tr\i“" “"_"““`“"'_“`“'“ i=:®“`_ _~_'_'_“_W“
5, Where you live lf Debtor 2 lives ata different address:
81 Brian Drive
Number Siree'r l Nurnber Street
Trurnbull CT 0661 1
Ciry State zlP Code Cify State ZlP 0on
Fairfleld
County Couniy

lf your mailing address is different from the one
above, fill it in here, Note that the court will send
any notices to you at this mailing address

 

 

 

' lf Debtor 2’s mailing address is different from
yours, fill it in here. Nete that the court will send
any notices to this mailing address

 

 

 

 

 

 

Nurnber Street Nurnber Street
P.O. Box ._ P.O. Box
City Staie ZlP Code . Cify Siaie ZlP Code
6_ Why you are choosing Check one: > Check one:
this district to file for 4 l _ _ _ ` ,_ _ _ ,
Xl Clver the lest 180 days before filing this petition ij Over the last 180 days before filan this petition
bankruptcy

l have lived in this district longer than in any
other district

n l have another reason E)<piain.

(See 23 U.S.C. § 14084)

 

 

 

 

l have lived in this district longer than in any
other district

ij i have another reason E)<p|airi.

{See 28 U.S,C. § 3408.)

 

 

 

 

 

Orficiai Ferm 101

Voluntary Petition for lndividuals Filing for Bankruptcy

page 2

 

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Debtor 1 Ant°inette M' Murray Case number n'.//<m',»m;
l'~lrsi Narne F‘./l:d<lle Naizne Last blame
m Tell the Cuurt About Your Bankruptcy Case
7. The chapter of the Check one (For a brief description of each, see Noiice Required by 11 U.S. C. § 342(£)) for /ndividua!s Fi/ing
Bankmptcy Code you forBankruptcy (Form 2010)). A|sox go to the top ot page 1 and check the appropriate box.
are choosing to file
under C] Chapter 7

Cl Chapter 11
L;i Chapter 12
§ Chapter 13

 

a. l-low you will pay the fee LXI l will pay the entire fee when l fiie my petition Please check With the olerk’s office in your
local court for more details about how you may pay. Typical|y, it you are paying the fee
yourself1 you may pay With cash, oashier’s cheok, or money order lf your attorney is
submitting your payment on your behalf your attorney may pay with a credit card or check
With a pre-printed address

D l need to pay the fee in installments lt you choose this option, sign and attach the
App/ication for lndividua)’s to Pay The Filing Fee in lnstai'/ments {Official Form 103A),

§ l request that my fee be waived {You may request this option only ii you are filing for Chapter 71
By law, a judge may, but is not required to, waive your fee, and may do so only it your income is
less than 150% of the ofhoial poverty line that applies to your family size and you are unabte to
pay the fee in installments)i li you choose this option, you must fili out the Ap,oiioation to l~/ave the
Chapter 7` Fi/ing Fee Wai\/ed {Oftioial Forrn 103B) and tile it with your petition

 

 

 

 

 

 

 

 

 

 

' 9. Have you filed for IX| NQ
bankruptcy within the _
last 3 years? L] Yes_ District When Case number
Mi\li/ DD/YYYY
Distriot When Case number
MM/ DD ,' YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy §§ NO
. cases pending or being
filed by a spouse who is n YeS. Debtor Relationship to you
not filing this ca_se Wlth District When Case number, if known
you, or by a business MM / 99 /YYYY
partner, or by an
affiliate?
Debtor Reiationship to you
Distriot When Case number= it known
Ml\/l ! DD / YYYY
11- 50 _yOu fe¥;fyouf Ne. Go to line 12_
res‘de“°e' Cl Yes. l-las your iandiord obtained an eviction judgment against you and do you Want to stay in your

residenoe?

ij No. Go to line 12.

ij Yes. Fiii out Iriitiai StatementAbout an Evict/'on Juo'gment Against You (Forrn 101A) and tile it with
this bankruptcy petition

Otficial Form tot Voluntary Petition for |ndividuals Filing for Bankruptcy page 3

Debtor 1

Case 17-51434

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Antoinette M- Murray CBS@ tillmbe ill known

 

 

Report Ahout Any Businesses You Own as a Sole Proprietor

12.

13.

 

Are you a sole proprietor
of any full- or part~time
business?

A sole proprietorship is a
business you operate as an
individual and is not a
separate legal entity such as
a corporation partnershipx or
LLC.

ll you have more than one
sole proprietorship use a
separate sheet and attach it
to this petition

Ai'e you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor‘?

For a definition of small

business debtor, see
11 U.S.C. § 101(511]),

t] No. co to Pari 4.

Yes~ Narne and location of business

Self-Employed L.P.N.
Narne cl business, if any

 

Ni.imber Street

 

 

City State ZlP Code

Checl< the appropriate box to describe your business.'

ij Health Care Businese (aa defined in 11 U.S.C` § 101(27A))

i;l Singie Asset Reai Estate las defined in 11 U.S.C. § 101(518))

in Stocl<brol<er (as defined in 11 U.S.Cv § 101(53/\))

m Cornrnodity Brol<er (as defined in 11 UMS.C. § 101(6))

m None of the above
ll you are filing under Cliepler 11, the court must know Whether you are a small business debtor so that ll
can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your

most recent balance sheet, statement of operations cash~iiow statement and federal income tax return or ii
any of these documents do not exist, follow the procedure in 11 U.S.C, § 1115(1}(3).

@ No. l am not filing underChapter11.

m No. l am filing under Chapter11, but l arn NOT a small business debtor according to the dennition in
the Bani<ruptcy Code.

m Yes. i am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code,

Report if \'ou own or Have Any Hazardous l’roperfy or Any Property That Needs |mmediate Attention

14.

 

Do you own or have any
property that poses or is
aiieged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
()r do you own any
property that needs
immediate attention?
For example do you own

perishable goode or livestock
trial must be fed, ora building
that needs urgent repairs?

Oi'"ficiai i-‘orrn 101

No
m Yes. What is the hazard?

 

 

it immediate attention is needed why is it needed?

 

 

V\lhere is the property?

 

Numt)er Street

 

 

Ciiy Staie Z|P Co<ie

Voluntary Petition for individuals Filing for Bankruptcy page 4

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gewin 1 Antoinette M.

Murray

 

F"irsi Narne F\/liddle Nerrie

m Explain Your Efforts to Receive a Briefing About Credit Counseling

Last l`ia me

CGSE number (i! known

Page 5 of 61

 

 

15. Te|l the court whether
you have received a
briefing about credit
counseiing.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy You must
truthfully check one of the
foliowing choices if you
cannot do so, you are not
eligible to file

lf you file anyway, the court
can dismiss your case. you
wlii lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officiai Form 101

About:`i)ebtor 'l: _>_ .
You must check one.'

ga l received a briefing from an approved credit

counseling agency within the 180 days before l
fiied this bankruptcy petition, and l received a
certificate of completion

Attach a copy of the certificate and the payment
plan, if any., that you developed with the agency

a l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion

Within ici days after you file this bankruptcy petition,

you lVlUST his a copy of the certificate and payment ` `

plan, if any.

ll l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a SO-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing why
you were unable to obtain it before you filed for
bankruptcy and What exigent circumstances
required you to fite this case

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you fried for bankruptcy

if the court is satisfied with your reasons you must
still receive a briefing within 30 days after you file
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed if any. if you do not do so, your case
may be dismissedl

Ariy extension cf the SO-day deadline is granted
only for cause and is limited to a maximum of l5
days

m l am not required to receive a briefing about

credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

il Disabi|ity. N|y physical disability causes me
to be unable to participate in a
briefing in person, by phone or
through the internet, even after §
reasonably tried to ue sol

n Active duty. l am currently on active military
duty in a military combat zone

lt you beiieve you are not required to receive a
briefing about credit counseling you must file a
motion for waiver of credit counseling with the court

" A_b_o’utDebtor 2 `{Spouse""'€lnly in a doint Case}: `

You must check one:

D l received a briefing from an approved credit

counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

m l received a briefing front an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion

Within le days after you file this bankruptcy petiticn,

you lVlUST file a copy of the certificate and payment
bland if any.

a i certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

`l'o ask for a 130-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briehng, why
you were unable to obtain it before you hled for
bankruptcyl and what exigent circumstances
required you to file this case

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons you must
stiii receive a briefing within 30 days after you file.
You must file a certihcate from the approved
agency, aior\g With a copy of the payment plan you
developed ii any, if you do not do so, your case
may be dismissed

Any extension of the BO-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about

credit counseling because of:

n incapacity. l have a mental illness or a mental .
deficiency that makes me
incapable of realizing or making
rational decisions about hnances.

[] Dlsability. ii/|y physical disabiiity causes me
to be unable to participate in a
briefing in person, by phone or

through the internet\ even after l
rea=zoriab\y tried to do sc.

m Active duty. l arn currently on active military
duty in a military combat zone

lf you believe you are not required to receive a
briefing about credit counseling you must file a
motion for waiver of credit counseling with the court

Voluntary Petition for individuals Fiiing for Bankruptcy page 5

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Debtor 1 Amoinette M' Murray Case number lirknonnl

 

 

F-`llsi blame Mlddle Neli‘-'la l_ast Na.'ne

m Answer These Questions for Reporting Purposes

 

16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § lOt(S)
as “incurred by an individual primarily for a personal family, or household purpose/’
Cl No_ en lo line leo
[Xl Yes. Go to line i?.

le. What kind of debts do
you have?

lee Are your debts primarily business debts? Busl’iiess r!et)ts are debts that you incurred to obtain
money ior a business or investment or through the operation of the business or investment

[.'.l No. colo line leo
ill Yoo. eo io line i"/'.

160 State the type of debts you owe that are hot consumer debts or business debts

 

 

17. Are you filing under

Chapter 7? ® No. iam nol filing under chapter r. eo lo line la

Dg you estimate that after m Yes. l am filing under Chapler ii Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds Will be available te distribute to unsecured creditors?
excluded and [;| No

administrative expenses

aro paid that funds will bo ii Y€S

available for distribution
to unsecured creditors?

 

 

 

iiig How many creditors do le win ill 1,000~5,000 l.`.`l 25,001-50:<)00
YO“ estimate ihaiyou ill isc-99 ill 5(001"10;000 ill so,nol_lco,ooo
°We? 9 leo-lee Cl 10,00125,00€) EJ unrelth london
ll 200~999
19. How much do you Ci sessioon Ll sl,tiori,ool-$lo million ill ssooieoo,eln»si billion
estimate your asseis iO C] sso,i)ol~sll:lo,ooil ill slo,lii)r),i;lr)i~sor) million ill silooi)!ooiizriei-slo billion
be W°ifi‘? sloo,ool»sooo,r)oo ill sso,ooo,ol:ll»$lcii million ll slo,coo,ooolr)oi»tso billion
U temporal million ill monoclonal-serio million Cl ivloie inan 350 billion
zil. How much do you §§ to~ser).,oi)c lj§l si,ooo,ooi~slo million L'.l soon,l)ci)¢cll)l“sl billion
estimate your liabilities 51 see‘ooi~$ioo,iicc L'J sio.oi)o,ccll~$no million ill Si,ncolcnri,orll»slc billion
t° be? U sloo,ooi-ssoo,coo L'.] sec,i)rio,ool~:l'iiir) million Li slo,ooi),cr)riloci-ssri billion
Xl ssci):i)oi~si million ill slod,l)oc)‘om~seiii) million ill lvloie inon 350 billion

Part 7a Sign Below

| have examined this petitiony and l declare under penalty of perjury that the information provided is true and
FO" Y°U correct

ill have chosen to file under Chapter 7, l am aware thatl may proceed ii eligible under Chapter 7, 11;12, or 13
of title il, ljnited States Code. l understand the relief available under each chapter, and l choose to proceed
under Chapter “i’.

lt no attorney represents me and l did not pay or agree to pay someone who is nolan attorney to help me fill out
this document l have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title ti, United States Code, specified in this petition
l understand making a §eilse statement concealing property Oi’ mbtail"ili"ig mOI‘iQ\/ Ol“ DFODBI"€Y by fraud ll'l COI"|H€G`§§OR

with a bankruptcy case can result in fines up to $ZSO,GOO, or imprisonment for up to 20 years, or both
18 U.SlC. §§#152, 1341 15l9, and 3571.

,/ Signature of Debtor 2

   
 

 

 

Executed on

 

 

Officiai i”-`orm 101 Voluntary Petition for individuals Filing for Bankruptcy page 6

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Debtor 1 Ant°inette M' Murray Case number g:rkn;;r@,i';

 

 

F-irsi Name i\ii=ddie blame i_ast i\|ame

 

, |, the attorney for the debtor(s) named in this petition, deciare that i have informed the debtor(s) about eiigibi!ity
For Y°ur attorney’ if you am to proceed under Chapter 7, 11, 12` or 13 of title 1”§, United States Code, and have expiaihed the reiiet
represented by one availabie under each chapter for which the person is eiigibiet i aiso certify that E have deiiverec| to the debtor(s)
the notice required by 11 US/C? § 342(1)) and, in a case in Which § 707(1))(4){|2)) applies certify that i have no
, lf you are n<>t represented Knowiedge after an in/<}uiry hat the information in the scheduies fiied with the petition is incorrect

by an attorney, you do not §_
needtoriiech§s pagex X/r' § // ‘ D§ §§§ //:;§§ /§:?§§, ;>
',.` § j a@ § § y f
mm i no /YYYY

   
   

Si_§tn”a`tflre» Ai'torn!ey for Debtor

 

§ George W. Derbyshire, Esq.

 

 

j
y / Printed name

Law Off`lces of George W. Derbyshire
Firm name

1825 Barnum Avenue, Suite 205
Number Sireei

 

 

 

 

Stratford CT 06614

City Staie ZiP Code

Comact phone 203 '452'7 391 Ema;\ add{es§ gwderbyshire@snet.net
402129 CT

Bar number State

 

Officiai Form 101 Voiuntary Petition for lndividuais Filing for Bankruptcy page 7

 

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l§.i|l in-'thls i,_nformeti'on to identify your case:

     

  

Antoinette M, Murray

F\l§l NEH'E‘:E Mldl§l€ Nal'l'\€ LE|S? NBI\‘:S

Dehtor l

 

 
  
 

 
   
      
     
 

 

Debtoi' 2
{SpOuSB, if Hiir`lg_) l'-`irst blame Midr:'le Nan)e Lzrs€ €\iarne
Unilecl States Bani<ruptcy Court for the; Districl of Connecticut

 

(State)
Case number
(li known)

 

 

Offioial Form ’iOGDec

 

Page 8 of 61

ij Checi< if this is en
amended filing

Declaration About an individual Debtor’s Schedules ms

 

if two married people are filing together, both are equally responsible for supplying correct information

You must file this form whenever you file bankruptcy Schedules or amended sched
obtaining money Or property by fraud in connection with a bankruptcy case can res

years, or both‘ 18 U.S.G. §§ 152, 1341, 1519. and 3571,

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

ENO

ules. Making a false statement, concealing prcperty, or
ult in fines up to $250,000, or imprisonment for up to 26

m YES, Name of person . Aitach Bankrupicy Pef/'tion Prepareris Notioe, DeC/aration, and

Signari/re (Oh'ic:ial Form t 19).

Under penalty of perjury, | declare that l have read the summary and schedules filed with this declaration and

that they are true and correct

/

 

j §§/ >
: x L;,,é'if~;. ,

 

 

Signature Ol Debior 2

Signature of Debtor l

Date

 

lVEi\/E/ DD l YYYY

 

Oificial Forrn luhi)eo Declaration About an individual Debtor’s Schedules

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'Fill in this inform"éi'fion`:to`iclentify your case:

       
      
 

Debmr § Antoinette M. Murray

Firet l\leme l\/iiddle Name l,asi Name

 

 

 
    
     
   

 

l’jlehtor 2
(Spou$e_ ii iiiirig) Firsl flame lillirltlle blame test blame
United Statee Banl<rupi<:y Court for the: Distric! olC°nne°tlcut

(State)

 
    

Cl oreck or this is an
amended tilan

 

Cese number

 

ill knownl

 

Otfir;:ial Forrn 1068um

 

Summary of Your Assets and liabilities and Eertain Statistical lnformation 12/15

 

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for suppiying correct
lnformation. Fill out ali of your schedules nrst; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page

Summarize ¥our Assets

 

 

Your assets `
\faiue,o,f what you own

1. Schedu!e /l/B: Propeny (Officiai Form 106A!B)

 

 

 

 

 

 

_ 5405,000.00
1a Copy line 55, lotal real estate from Sc:hedule /l/B ........................................................................................................ '
in Copy line @2. Tota| personal property from $cheduie A/B ........................................................................................... 532,301-83
1c. Copy line €:`»3x Totai of ali property on $chedu/e A/B ....................................................................................................... 3437§301_33
' Summarize ¥our Liahiiities
Your liabilities

Amoun_tyou owe -
2, Scheduie D: Credirors Who Have C!aims Seoureci by Pm,oerty {Official Forrn 106D)

 

 

 

 

 

 

v472,427.44
2a Copy the total you listed in Coiumn A, Amoum‘ ofc/a/`m, at the bottom of the last page of Part 1 of Schedule D ............ 3
3. Soheduie E/F; Crec:iitors Who Have Unsecureu' Ciaims (Ofiioia| Form 106EFF) 764 00
33. Copy the total claims from Part 1 {priority unsecured claims) from line tie of Schedui`e E/`F ........................................... 3 '
;‘>t). Copy the total claims horn F’art 2 lnonpriority unsecured claims) from line 63 of Schedule E/F~` ....................................... _§_ 345§726§00
Your total liabilities 5518=917'44
§ Summarize Your income and Expenses
4. Schedu!e !.' Yourlnoome (C)tfioiai Form 106l) 7 813 82
Copy your combined monthly income from line 12 or Schecruie l ........................................................................................ 3 j
5 Scheduie J.' Your Expenses (C>tficiai Forrn 1063)
Copy your monthly expenses from line 22a of Schedule J .................................................................................................. §6293'00

 

 

 

C?ficial norm 1063urn Sumrnary ot ‘r'our Assets and liabilities and Certain Statistieal information page 1 of 2

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Antoinette M. Murray

Del)lor 1

Caee number iiikiii>i/wi;i

 

 

l"irsl Nzrirae Niicédle Narne Lasl blame

Answer ‘l"hese Questions for Administrative and Statisticeil Records

 

 

o Are you filing for hankrupicy under Chapters 7, 11, or 13?

l;l No, You have noihing to repori on this pari of the form Checl< this box end submit this form to the court Wiih your other schedules

m Yes

 

7. What kind of debi rio you have?

m ‘i’our cleth are primarily consumer debts Consomer debts are those “lnourrecl by en individual primarily for a personal
iernily, Or household purpose.” 11 U.S.C. § 101(3). §:ill out lines S-Sg for statistical purposes 28 Li.S,C. § 159

§ Your debts are not primarily consumer debts You have nothing to report on this pari of the form Cneol-r this box and submit
this form to the court with your other schedulee,

 

 

B. From the Statement of Your Current Monthly income Copy your total current monthly income from Ofiioiel
Form 122/im one ii; oR, rem izzo Lirie ii; oR, mm izzo~i Line iii 55 0-00

 

 

 

 

9. Copy the following special categories oi claims from Pari 4, line 6 of Schedu!e E/F;

 

 

l _'“l"otal claim'
From Part_4 on Schedule Est cooythe following

.. . _ , 0.00

93. Domestio support obligations (Cooy line Sa,) 3
_ . i.~ 764.00
go Texes end certain other debts you owe the government (Cooy line Go.) »“>M
90 Gleims for death or personal injury \iyriiie you Were intoxicated (Cooy line oo_) 33 0'00
ed evident mens roopy line ef.) S 40»964'00
§e. Cioligelioos arising out of a separation egreemeni or divorce trial you did not report as 5 O~OO
priority claims (Gopy line Sg.)

Qf_ Debte io pension or oroiii~siiering piens, end other similar deere (Copy line o`|'i.) + 5___0_00_ _________________________________________________________
Qg_ retail Aciri lines ea inmth er 5 41»723-90

 

 

 

 

 

 

Oi“iiciei §:orm iii€i$um Summai'y of Your Assets and liabilities and Certain Statistical information page 2 of 2

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M.

Mir:clle Name

Antoinette

Firsf Narne

Debtor ’l

Dehtor 2

Murray

Lasi blame

 

(Spouse, il liling) wet waan handle blame

United. Sieies Benl<rnptoy C.ourt for the;

l_asi blame

Di$mc; of Connecticut

 

Case number

(Stat€)

 

 

 

 

Officlal Fol‘m ’lGGA!B

 

Schedule AIB: Property

ln each cetegory,

separately list and describe items hist an asset only oncel
category where you think it fits best Be as complete and accurate as possible if two married people are filing together,
responsible for supplying correct information li more space is nee

write your name and case number (if known). Answer every question

 

v l_ Do you own or have any legal or equitable interest in any residence building, land, or similar property?

ill No. so to earl 2.
X_] Yes Where is the prooerty?

81 Brian Drive
Street address ii available or other description

ll

 

 

 

Trumbull CT 06611
City Steie Z|P Code
Fairfleld

C<)unly

if you own or have more than one, list here

l.Q.

 

Streel address if available or other description

 

 

City State Z| P Code

 

County

What is the property? Checi< all that apply
X.] Single~iamiiy home

ill nupiex cr multiwumi building

C] Gondomlnium or cooperative

a l\/lenufaotured or mobile home

L..i l_anci

m investment property

m Timeshare

l;l other

 

Who has an interest in the property? Cheok one

)U Debtorl only

ll senior 2 amy

m Delztor l end Debtor? only

D Ai least one ortho debtors and another

Other information you wish to add about this item, such as local

property identification numbers

Page 11 of 61

ft oreck nims is an
amended filing

121"!5

if an asset fits in more than one category, list the asset in the

both are equally

ded, attach a separate sheet to this form. Gn the top of any eciditionai pages,

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest in

i)o not deduct secured claims or exemptions F>ul
the amount oi' any secured oleirns_on Schedule D;"
Creo’itors Who Ha.i/e Clairns Seoored ny Pro;)ern/. `

Current value of the Current value of the j
entire property? portion you own?

3405,000.00 3405,000.00

Descrihe the nature of your ownership

interest (such as fee simp|e, tenancy by

the entiretiee, or a life estate), if known.
Fee Simple

§ Cheok if this is community property
(see instructions)

 

 

What is the property? Chet;l< all that apply
n Singie~iarni|y home

L.] Dupiex or mulli~unll buildan

3 Con<:lominium or cooperative

{;.l Nlenuiacturecl or mobile horne

n tenn

ill investment property

[;] 'l'imeshere
E;] Other

 

Who has an interest in the property? onecl< one

L:} Debtor 1 only

n Dehtor 2 only

E.§ Dei)tor l end Dei>tor 2 only

[.} At least one of the debtors and another

Do not deduct secured claims or exemptions F’ut `
the amotint oi.any`eecured olair'rls on Scheo'uie D:
Credr'tors Who Have Claims Seoured by Pro,oertyt _

 

Current value of the Current value of the
entire property? portion you own?

5 il
Desorihe the nature of your ownership

interest (such as fee simp|e, tenancy by
the enlireties, or a life estate), if known~

 

m Check if this is community property
(see instructional

Gther information you wish to add about this item, such as local

property identification number:

 

 

Official Form 'lOGA!B

Schedule NB: Property

page 'E

 

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Debtor 1 Am°mette M' Murray Cese number m wynn
F`ir$l blame l‘fno':lie blame Last Narne

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

What 15 the F"€‘PBVYY? Ch@CK all mm BPPW~ l Do noidedl,lol waivedolaime:oz"exerr\;')iiorie, Pol
3 ging‘e_mmé|y home lhe amount of any secured claims on Schedi/ie D:
134 1 Creditors Who Heve Claims 5ecured`o_v Pmpeiiy.

Streel address, ii available or other description LJ Duple)< or mulli~unit building v ' ~ ' ' ~

a Condomimum m COOP€UUV@ Currerxt value ol"' the Curr_ent value of the
4 entire property‘? portion you own?

L:] l‘vlanuiociured or mobile home
§ Lend 3 3
U investment property _ y

City Siaie ZlP Code n Tirneoiiare pescnbe the nature Of,yom ownership
3 interest (such as fee slm|o|e, tenancy by

Oth@l the entireties, or a life estate), if known.

Who has an interest in the property? Checl< one

C t EJ D@biori only

mm y ij Deblor 2 only
3 Del)ior 1 and Debtor 2 only §§ Che‘?k n thi$ 55 community Pl")l)€`l”f¥
U Al: least one of tne debtors and another (S@e m$tmgmns>
Other information you wish to acid about, this item, such as local
property identification number:
1 2_ Adcl the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages §405 000 00
you have attached for F'art 1. Write that number here. ...................................................................................... 9 ’

 

 

Describe Your Vehicles

 

 

" Do you ownj leas.e, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that eorneone else drives li you lease a vehicle also report ii on Schedo!e G.' Executory Coniraci$ and Unexp:`red l_eases.

3. (Bars§ vens, trucko, tractors, sport utility vehicles, motorcycles

 

n l\£o
K] Yee
3_1, Make: Z_O_l§__"________ Wh°‘ has an intere$t in the W°F*GVW? Che°k O“€~ Do nor deduct secured claims or exemptions. F‘L:l
_ m g m q § the amount oil any wearer olair'n.s'on Scheo‘ule B.' v
lVlOdel; §_qdl rrrrr 9 m on y Crediiors Wim Ho ve C/;aimo Seoured by Proporry\
A 6 L..l Debtor2 only ' '
Ye$'"i »_' Current value of the Current value of the f

ill manion and oebror 2 my

 

 

 

 

, , ' 9 " 9
Appmx'mate m'§eage: Z§~»O-QQW»-~» m Al leas€ one olthe debtors and anolher entlm property' portion dam own'
Oiher informerion:
5 m Check if this is community property (Seo 320’529'00 90’529'00
insiructions)
lf you own or novo more than one, describe nere;
312 l\/|ake. 2006 Who has an interest m the property? Check "~""9~ Do not deduct eeoured clelms.orexe_m;oliorie, F’ot
- the emouni"ol any secured alaimo on Schecluie D:
?v'lodel: PaSSat § newer q Omy Creditor£~: leo lafave Claims Secored by Prope:iy_
D »’_ ,,_W, _,, ~ 4_, \./
Year: Volkswagen ..... enter 2 cmy
d gamer 1 and DGWN 2 Omy Current value of the Curren! value of the
A§pm%imate mil@age: }~Z»-BO-q--- m Ai least one of the debtors and another entire property? portion you own?
Otl'ier information:
l...3 Cher:k if this i$ community property (See 33’060'00 $’060'00

 

. iostruotions)

 

 

 

 

 

 

 

 

 

 

O?flr:lel Form 106A/E3 Scheduie AIB: Property page 2

 

 

 

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Cese number rlrl\»,@@Wl-n

 

Who has an interest in the properiy? Chec;k one

139-mm q Antoinette M. Murray
Fiasl blame lvliu‘dle i\laz‘ne past N$m@
3.3, l\/lal<e:
f\/lodelj m Debiorl only
Y L} newer 2 only
eer:

Approximale mileage

Other information

 

 

 

 

l\/lal<e:
l\/|oclel:

3.4.

Year;
Ap;>r<>ximale mileage

Other informerien:

 

 

 

 

l;.l Debtor l end Del)tor 2 only
w Ai: least one cline debtors and answer

n Check if this is community property (See
insiructiens)

Who has an interest in the property? Check one

w Debtor'l only

n Debtor 2 only

ll Deblor l and Dei)tc)r 2 only

ij Al least one of the debrch and another

L.} Check if this is community property (see
inste'ucli<)ris)

Page 13 of 61

D€`) not deduct secured clairns.~or exemplinns. Pul» v
the amount or any secured claims en Scr;edu.le D,' _

C_redirore Who Have Cl`eims Ser:ured by Properly. '

 

Current value of the Current value of the ,

entire property? portion you own?

00 not deduct secured claiij er exemptions Pul

" the ameuni»of any secured clelme orl_Scheduie D;

Credi€ors__Who Ha._ve Claim$ SeCered.rJy Propeuy`,

 

Current value <)f the Current va§ue of the
entire property? portion you own?

l 4. Watercraft, aircraft, motor homes, ATVS and other recreational vehicles, other vehicles, and accesrsr)ries
E)<emp/e$: Eleais, irailers, molers, personal Wetercraft, ushing vessel§, enowmol:)i|es, motorcycle accessories

X] Ne
U Yes

4r iv'lal<e;

 

Year:

Other information

 

 

 

lf you own or have more than one liet lnere:

l\/laKe:
Model:

4.2.

 

Yeer:

C`)tl‘ler information

 

 

 

Oriicéal Form 106AJB

Who has an inierest in the property? Crxecl< one
E} Debtori amy

L:l Det)tc)r 2 only

ill miami and r)ebmr 2 only

m Ai least one of the debtors end another

§§ Check if this is community property (see
inslructiens)

Whu has en interest in the property? Cr\eci< one
n Debtorl only

[.:3 Debtor 2 only

m Deblor l and DeblorQ only

m At least erie er file debtors and another

L:] Check if this is community property (see
instructions)

:z. Adcl !he dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached Eor Part 2. Wrife that number here ...............................................................................................................

Schedule AlB: Property

00 not dedur:i secured claims <>_r»e>cem;)iions¢ Put
the amount er any see/cured claime on Scneduie D_'

Creo‘ii‘ore,l,'/l/he Heve Cl'em)s Seeured by Pmperty.

 

Current value of the Current value of the
entire property? portion you own?

’D<> not deduct eecured claims cr exemp§ions. F>ut '

the amount of any secured claims on Schee’uie D:
Cr'e;j/`Iors Whr) Heve C,Iezirns Secureci by Pm;)eriy.

 

 

Current value of the Current vaiue of the
entire preperty? portion you own?

 

5 23 589.00

,,,___..;.....,.,.,,.........w..__.w...-»__

 

 

 

page 3

 

 

 

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Debtm 1 Antoinette M. Murray

First Narne l‘~iie'dle blame L'asl blame

Case number nrr»»lmwln

 

 

Describe Your Fersonal and Househoid Items_

 

gm 3=

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lie you`own br'have a.ny_legal er equitable interest in any eli the vf¢)lliz~\ivinrcj iteme?

v curreni value erin '
portion you cwn?
Dc) nor deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

for Part 3, Write that number here ...............................................................................

   

Gificiel Form 106/wis Schedule A!B; Property

 

 

. _ ` car exemptions ~`
6. Household gocds and furnishings
Exarnples: lv'lajor eppliencee, furniture linene, china kirchenwere
B No ,
X..l Yeev Describe ......... H°“Sehold G°°ds $2,000.00
7. Electronice
Exarnpies: Televisions end radios; euclio! video, slereo, and digital equi;:)rner\i'y compuiers, printers, Scenners; music
ceileciions; electronic devices including cell phenes, cemeras: media pleyers, games
i:} No
§§ yes' De$@,.ib@ __________ TV(s), Computers, Printer, Cell Phone 331 000 00
5 3 Coliectibiee of value
Exemp/ee; Ani.iques end iigurinee; paintings, prinls, er other errvvork; becke, pictures, or other err objecie;
sternp, coin or baseball card cellectic)ns, other cciieciions. rnernoral;)ilie3 collectib|es
m l\io
\;.] Yes. Deecribe.. ........ $
9. Equipment for sports and hebbies
Exampies: Sporte, pheiographic, exercise and other hobby equipment bicyclee, pool lablee, golf clube, skis; causes
end keyaks; carpentry toole; musical instruments
§§ Ne
[.:] Yeev Descril:)e ......... 55
10.Firearnis
Examples: Pisiois. riflee, enotgune, ammunition and reinte<i equipment
X.__;i No
U Yee, Dei=.<;ribe .......... 3
li.Cloihes
Exemples: Everydey clothee, fare leather Cceis, designer Weer, shoee, accessories
i;i rio
X;} Y@g_ D@S¢rll;@, _________ Clothing, Shoes, Accessories, Leather Jacket $ 5()()_0()
iz.dewelry
Exempiee; Everydey iewelr\,/X Ceelurne jewelry engagement ringe‘ Wecidirlg ringsx heirloorn jewelryx Wetcriee, gems
go|d; silver
LJ No _
§§ Yeel Describe .......... Eamngs 3 25.00
‘13. Non~farrn animals
Exemp/es: Dogs, sale birds, horses
Xm] rio g ,
m Yes~, Desc:ribe , ,. 5
~i»/i.Any other personal and household items you did not already listz including any health aids you did not list
w lie
§§ Yee. Give epeciflc $
infermeiiczn ............... ‘_“…”‘“"""""'“
15_ Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached § 3 525 00
.......................................................... -) `

 

 

page 4

 

 

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Debm q Antoinette M. Murray

F'irsl Narna E\.'iiodla i\l:='me Las;t blame

Case number nri\,@@wm

 

Describe ¥our Finam:ial Assets

 

 

- 00 you own or have any legal or equitable interest in any of the following?» - ll ' ' _ b . b . . _ _ Current Valw_e .o`f the
v . » - . - _ / ` ' . V . ' v y ` portion you own?
Do riot oed.uct secured claims
or exemptions '

164 Cash
Examp!es: ll/ionay you have in your waliet, in your home7 in a pate deposit oox, and on hand vvhen you file your petition

L.l No
§ Yes ....................................................................................................................................................................

17. Deposits of money
E)ram;:)les: Checking, eavings. or other financial accounts certificates of deposit shares in credit unions, brokerage noueess
and other eimilar institutions lf you have multiple accounts With the name institution lgist each

Qi\io

il Yes ..................... institution name:

 

 

 

 

 

 

 

 

 

 

 

 

171 Cneol<ing account St. Vincents Medical Center Credit Union §§ 162.83
172 Cneol<ing account $ 0
i'r,;§, Sav§ng§ accgung; St. Vincents Medical Center Credit Union $ 0
i7,4. Savings account 3 0
17.5. Certiiicatee of deposit $ 0
i'?.@i Oihar financial account 3 0
177. C)ther financial account 3 0
17 8. Other financial account 3 0
1'7.9. Olner financial account 3 0

la Bonds, mutual lund~:s, or publicly traded stocks
Exampies.' Boncl funoe, investment accounts vvith brokerage firms, money market accounts

X]No

L.! Yes .................. institution or issuer name:

 

 

 

19“ Non~»pub|icly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

X.,] i\io i\iame cf eniity; % of ownership

m Yea, Give specific
information about
them ...................... %

%

 

%

 

G‘Sficial llorrn 106A/E:“S Scheclule A!B: Property page 5

 

 

 

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Debmr 1 Antoinette

M. Murray

 

Firsi' Narne

Mic‘dle l\lanie Las;t blame

CSS€ fli,imbel‘ (if imnwn)

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiahie instruments inciucie personal ohecksz` cashiers" cnaci<e‘ promissory note;~s, and money orders
Non»negoiiab!e monuments are inose you cannot transfer to someone by signing or deiivering them

X:] No
U Yes. Give epeoific

information about
them ......................

Y..)
,M;

321 No
X:] Yesv Listeacn

account eeoarately..

Page 16 of 61

 

 

 

 

 

 

_ Retirement or pension accounts

 

 

 

 

 

 

 

 

22. Security deposits and prepayments

coin oanies, or others

X] No
§§ Yes ...........................

523 No
3 Yes ...........................

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

issuer name
$
$
$
Exampies.' interests in lRA, ER|SA, Keogn, 401(k), 403(@}, tnri€t oavings accounts; or other pension or proiii~snaring plans
Type of account institution name:
¢iGi(i<') or similar plan: 3
Peneion plan: §
lRA: $
Relirernent account $
Keogh: $…......~m
Additionai account $
/-\i>lcliiionai account 35
Your enare of ali unused deposits you nave made so that you may continue service or use from a company
E><emples: Agree_rnenie wiin ienoiord$, prepaid rent public utilities (eleotrio, gee Water), ieiec:omrnunicaiione
institution name or individua|:
Eleoii'ir:: §
Gaa: 913
Heating oil: §§
Securiiy deposit on rental unit $
Prepaid rent $
Telephone: 33
Water: 3
Rente£i furniture §
Other; $
23.Annuities (A contract for a periodic payment of money to you, either for lii°e or for a number of years)
issuer name and cleacription:
$
3

Oi"fioial Form TGSA!B

 

Scheduie A!B: Property

page 6

 

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D@bm 1 Antoinette M. Murray

First Name i\!lio'die Name l_ssi Name

Case number iii/inow.“.-i

 

 

 

 

 

 

24. lnterests in an education ii%/iiil in an account in a qualified ABLE program, or under a qualified state tuition program
26 U.S.C~ §§ 530(!:>){1}, 529»¢\\(l))s and SZQ{t))(l).
§ No
3 Yes .....................................

institution name and description Separaieiy iiie the records of any interests.ii U,S.C, § 521 (c):

 

 

26. Trusts, equitable or future interests in property (other than anything iisted in line 1), and rights or powers
exercisable for your benefit

give

n Yes. Give specific
information about tnem. .. $

 

 

 

 

26A Patents, copyrights, trademarks, trade secrets, and other inteliectuai property
Exampies: internat domain namesl wabsitas, proceeds from royaities and licensing agreements

§§i\§e

L.] Yes. Gi\ie specific
information about them .. $

 

 

 

 

2'/'. Licenses, tranol'iisesx and other generai intangibles
i';")<ampies: Building permits exclusive licenses cooperative association holdings liquor licenses professionai licenses

i:ll*‘io

§§ Yes. Give specific Nursing License
information about them ,, 33 0

 

 

 

 

Monay or property owed to you? j v ` ' ;, . _ ._ - ~ 1 ~ ' .- ' ` ' » Currenti/alue'ot the
' ' ' ' ` ’ ' ` portion"you own?
Do not deduct secured
oiaiins or exemptions

28 Tax refunds owed to you

X]l\to

i:l Yes, Give specific information
about tnen“i, inoiuding Wnetiiar
you already filed the returns State:
and the tax years ......................

 

Federalt $

Looal: §

 

 

 

 

29, Famiiy support
Examples: Past due or lump sum alimony spousal support cniid support maintenance divorce Settlement( property settlement

@i\io

 

 

 

 

 

 

 

l;l Yes. Give specific information .............
Aiimony: 33
Maintenance: $
Suppon; $
Div<)rc;e settlement §
Properiy settlement $

39_ Otiter amounts someone owes you
E)<ampies: Unpaid Wages, disability insurance payments disability benefits sick pay, vacation pay Worl<ers’ compensation
$`;»ooial Security benefits unpaid ioaris you made to someone else
§§ No
[:.\ Yesk Give specific information ..............
$

 

 

 

 

 

 

 

Offieiai Form 106NB Scheduie NB: Property page 7

 

 

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D%m'. 1 Antoinette M. Murray

F`ii'sl Name l\!lio'die l\|as'rie l_ast blame

CHSE l'lU mbel' l_li ir.'ic)ii'i')l

 

 

 

31. interests in insurance policies
Examples: Haalih, disabilityl or lite insurance health savings account (HSA); credit3 homeownersx or renter‘s insurance

l;ll‘~lo

§ Yee. Narne the insurance company

 

 

_ _ _ Conipany name: Beneficiary: Surrender or refund vaiue:
of each policy and list its vaiue.
lnsurance Through Employer Petergaye Murray & Rey Murray $ 0
it

 

32. Any interest in property that is due you from someone who has died

lt you are the beneficiary of a living trust expect proceeds from a iife insurance policy, or are currently entitled to receive
property because someone has died

zgive

ill Yes Give specific information .............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
E)<arnp!es: Accidents, employment disputes insurance claims, or rights to sue

X:ll\lo

m Yes. Descrihe each claim ......................

 

 

 

 

34_ Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

@i\lo

l;] Yes. Descrioe each claim ......................

 

 

 

 

354 Any financial assets you did not already list

K]No

g Yesi Give specific information ...........

 

 

 

 

36. Add the doliar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ........................................................................................................................................................ ') $ 187.83 _

 

 

beacribe Any Business-Re¥ated Pro;)erty You C\wn or Have an interest ln. Lisl: any real estate in P‘art 1¢ §

 

 

 

37. Do you own or have any legai or equitable interest iri any business-related property?
ll i\io. co ic Pari a
X..`l Yes. Go to line 38.
Current value of the
portion you,ovrn?
-Do not deduct secured claims '

or er<erriptions~.zA , . . '

33. Accounte receivable or commissions you aiready earned

i....`l i\lo
X..] Yee. Descrii:)e ....... MOniCS OWed for Self`Employmem

 

 

$ 4,800.00

 

 

39 Oliiice equipment, iumishings, and supplies
E)<a;n,o/es,' Bueiriess~related computers softwarey modems, printers, copiers1 tax machines rugs, telephones desks, chairs, electronic devices

X§ tie
L.l Yes, Descrioe_....._ $

 

 

 

 

Ol'ficial Form tuoNB Sctiedule A!B: Property page 8

 

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Debtm 1 Antoinette M. Murray

F`irst Narne illicide Na'me Last blame

CZHS& J'iumbel' (ifl\.',vcm'ii)

 

404 Machinery, fixtures, equipment, Supplies you use in business, and tools of your trade

§§ No
§§ Ye$, Deg,<;ribe ,,,,,,, Blood Pressure Cuff& Stethoscope 3 200`()()

 

 

 

 

41.inventory
X,] No
§§ Yes. D@:scribe ....... 39

 

 

 

 

 

42. interests in partnerships or joint venture$

m No
L...i YeS, Describe ,,,,,,,

 

 

 

 

blame of ont\'ty: % of ownershio:
% §§
% $
90 3

 

 

43. Customer lists, mailing lists, or other compilations

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

K] No
ii Yes, 00 your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A})?
m ?\lo
l;\ Yes. Describe .........
$
44. Any business~related property you did not already list
X.] No
[.;} Yes, Give specific 3
information .........
35
$
33
$
$
454 Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached 35 000_00
for Part 5. Write that number here ....................................................................................................................................................... '9' ’

 

 

 

 

b Describo Any Farm- and Commeri;ial Fl$hing~Related Pro;xerty You own or Have an interest ln.
if you own or have an interest in farmland, list it in Part 1I

 

 

46. Do you own or have any legal or equitable intere$t in any farm' or commercial fishing-related oroperty?
m No. Go to Par’c 7,
il Yes. Go to line 47.
>Cu.rri_ant vaiue nf'the
portion yc_>l.i awn?

Do not oéduot oscqu olaim`s

 

 

or exemptions
47_ Farm animals
Examp!es: Livestock. poultry farm-raised fish
a No
m Yez-z ..........................
33

 

 

 

 

O§iicial i'~'~'orm iOESA/B Schedufe A!B; F*roperty page 9

 

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Antoinette M. Murray

iirst Nerne Last blame

Del:)tor 1 Case number nr/\n@w,~'.->

 

l‘..'iic;'dle blame

48 Crops-either growing or harvested

UNO

 

§ Yes. Give epecific
information ............

 

 

49. Farm and fishing eqni;)n‘:entx implements, machinery, fixtures, and tooie of trade

ENQ

 

L.] Yee ...........................

 

 

 

50. Farm and fishing stapplies‘.7 chemicals, and feed

l;}l\io

 

m Yes ...........................

 

 

51.Any farm- and commercial fishing-related property you did not already list

Bi\lo

 

ij Yes, Give epeci?ic
information ............

 

 

52k Add the dollar vaiue ot all of your entries from Part 6, including any entries for pages you have attached
for Pert 6. Write that number here ........................................................................................................................................................ 9

 

 

Page 20 of 61

 

 

3; 0.00

 

Describe AE! Property `You Own or Have an Interest in That You bid Not List Above

 

534 Do you have other property of any kind you did not already list‘?
E)<amp!es: Seeson lickets, country club membership

XENO

m Yes. Give specit"ic
information ............

 

 

 

54_ Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 9

 

 

List the Tota¥e of Each part of this Form

 

 

 

$0.00

 

 

584 Part 2: "i“otal vehicles, line 5 323 .OO

571 Part 3: Total personal and household items, line 15 $3,525-00

53 Part 4; Totai financial assets, line 36 3187.83

59. Part 52 ”l"otai busineee-related property, fine 45 $5 000.00

 

60_ Part 51 Totai ferm- and fishing-related property, line 52 $0,00

61 Part "f: Total other property not listed, line 54 + $()_0()

 

§ 52.“l“otal personal property Add lines 56 through 61. ...................

 

 

 

 

,: 53.Totai of ali property on Schedu|e NB. Add line 55 + line 82 .......................................................................................

     

Ofiicial l:orm 106A/B Schedule A/B: Property

554F’art1:i“otai reai estate, line 2 .................................................................................................................................................................. 9 $MM_____

333 391 33 Copy personal property total ~') 1+ $32 301_83

 

 

$m§;z,z_olra:zmmm

 

page ‘l(l

 

 

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Fill in this information to identify your case:

Antoinette M. Murray
l.')ebtor 1

 

Firsl Name Middie Narne test l\lar~'la

Debior 2
(Epouse, ilfiling) Firs.iName modes wayne i.astname

 

United States Bankruptoy Couri for the; Dislrict of Colmecticut

Case number l;] Ch€CK if illiS l$ all
ill knowni '
' amended filing

 

 

 

Ol'iic§al l:orm iO€C
Schedule C: The Property You C|aim as Exempt inns

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct information
Using the property you listed on Scheolule A/B: Property (Ofiiclal Forrn 106A!B} as your source list the property that you claim as exempt ll more
space is needed fill out and attach to this page as many copies of Pan‘ 21 Ao‘clitionai Page as necessary On the top of any additional pages Write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you elaiml One way of doing so is to state a
specific dollar amount as exempt Alternative|y. you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptionsmsuch as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds~may be unlimited in dollar amount. However, if you claim an exemption of100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount

identify the Property You Claim as Exempt
“l. Which set of exemptions are you claiming? Checl< one on/y, even if your spouse is filing With you.

U You are claiming state and federal nonbankruptcy exemptions il UAS,C. § 522(b`)(3)
m You are claiming federal exemptions ii U.S.Ci § 522(b)(2`)

2, For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Briel description of the property and line on `Current valoe"of the `Amount of the exemntian you claim Speclfic laws that allow exemption

 

 

 

 

 

 

'Schedaie A/B that lists this property ' k _ portion you own v _
" 'Copy theyalue` lrorn » C?hecl< only one heir for_eaoh exemption

Schedn!e AIB x » : v ' . ` ~»
Brief 81 B ' D ' T b ll CT 405 000 00 X_] '
description man me mm u 3 ’ ' 575=000~00 52-352b(t)
Lme from m 100% of fair market value, up to
Sch@du/e A/B; 1,] any applicable statutory limit
Bnef Houschold Goods 2 000 00 ij .
description $ ~ 5 2 000-00 52-352b(a)
Lme from 6 l;l 100% of fair market value, up to
gchedU/E A/B; any applicable statutory limit
amf Tv( l c P ' c 11 P
description S °m““ters "“ter e am@()O-OO il 51 000-00 52-352b(a)
Line from [.;l 100% of fair market value, up to
ganequ/g ,¢\/3_- 7 any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subiect to adjustment on 4!01/19 and every 3 years alter that for cases filed on or after the date of adjustment)
§ No
a Yesi Did you acquire the property covered by the exemption Within 1215 days before you filed this case’?
a Nc
m Yes

O?fioial Form iOBC Schecluie C: The Property You Claim as Exempt page 1 ofg_~

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Dabtor l Amoinette M- Murray Case number ill many

Flrzt blame M=-ddle flame i..asi. Noma

 

 

Additional Page

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

E§rlat daac:rlption~of the.property and tide '. Curront value.of~the" ~Amoilrtt of thé'ex_e`mption you clalm Spectfic laws' that allow eieroption~

5 oni$cifzadu!e_»él/B that lists this property v _ portlorl you own j 'v , _ w .` ` ` _ _ _ ` >
' ', Copl,‘ tha value from ' v v .Cilack. on!yo'iiaba)rforaacli~.a)<amp:lon
ach@dzila .A./a` ' . _ . v _ y `

B"l@l ~ - . 52-352b(a)
descrimmn: Clothmg, Accessorles, Leather Ja<$®O0.00 3 5()().00
Lli~l@ from 11 L] 100% of fair market valua, up to
Sched¢;l@ A/B; any applicable statutory limit
radar . _ . 52-3613(1)
desmmmn: Momes owed from Self Employntpn§SO0.00 §§ 5 3,600'()()
Lme mm § ‘EGO% otfair market valua. up to
$clzeduio A/B; 38 any applicable statutory limit
B"ief Bl d P C ff& sr th §§
descrlpticm; 00 reS--Sure u " °SC°WOO-OO _____ 3200-00 52-352b(b)
Lm@ from 40 E_l 100% of fair market valua, up to
Schadu!a A/B: any applicable statlltory limit
grin Checking & Savings Accounts 162 83 162 83
description: 3 ' § - 52-352 b(r)
Lm@ from 17 il 100% or fair market valua, up to
SohedU/@ A/B; W`_“ any applicable gratutory limit
Brief
description 5 m 5

~ m ’IGO% affair market valua, up to
Lxrle from
Schedu!@ A/§; mw_~ any applicable statutory limit
Briaf
description 3 L_.] 3
le; from 3 100% affair marl<atvaiue, up to
SChedu/@ A/B; ‘~”_”“ aray applicable etatutory limit
Brtof
description $ n 3
me from ill 100% affair market value, up le
Sch@d;;/e A/g; ariy applicable statutory limit
Brlaf
description 35 ;\ §

1 L} tGljl% of fair market valua, up to
Llrie from
Sched¢iii;z /l/B; _M.m__ any applicable Stalutory limit
Bria§
description §§ m 5

l m 1000/ci of fair market value, up to
Lirla tr<:)m
Schedu/@ A/B; m any applicable statutory limit
Briaf
description 3 n $
Lm@ mm L} 100% of fair market valua. up lo
Scheduie ,¢l/a_- '"""”""'”"` any applicable statutory limit
Briaf
description $ n §
Llne from § 100% of fair market valua. up to
Schedule A/B; ____ any applicable statutory limit
Briaf
description $ ;l 3
Lme from U 100% affair market value, up to

 

Sch@dU/e A/B; _~""'" any applicable statutory limit

Orficial i:orm 1063 Schedula C: The Property You Claim as Exempt page WZW r)i‘_Zgum

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“ fomi§t:ori'to§id?lit:i'iy:'¥€rurcéa,e:

     
       

  

Dei.il.or l Antoinette M Murray

l~`il'Sl blame initile blame i_asi Nzima

  

 
    
     
   

Dapl:dr 2
(Spcuse` if Hiiric`i Flre,l rome rundle marie last blame

 

Uniiad States Bartkrupicy Courl ich ih€z: Diatrict of Connecti¢m
iStata;

  
    

Caoc number . . .
iiri<riowrii ij Checi< it this la an

amended filing

 

 

Official Form lOGD

 

Schedule D: Creditors Who Have Claims Secured by Property 12,'15

 

Bo as complete and accurate as possib|oi if two married people are filing together, both arc equally responsible for supplying correct
iotormation. |f more apar:e is needed, copy the Additiorial Page, fill lt out, number the entries, and attach it to this form. On the top cf any
additional pagea, write your name and case number (if known).

1m Do any creditors have claims secured by your property?

D No, Cl'iacit this box and Submit this form to the court with your other schedules You have nothing also to report on this form
XJ Yaa. Fi|i in ail di tila information below

L.ist All Secured Claims

   

impact 1:

 

2, 'List ali occurred ciaims. ii a craditor has more than orta secured olaim,. list tha creditor aaparataly .
for cash claim lll more than one creditor has a particular claim, list the other creditors in Part 2~
As much aa possibia‘ list the claims in alphai)ctical orer according to the creditorfs~hame; `

         

Bayview Loan gen/icing Describe the property that secures the claim; 5341,556.00 3405,000-00 $63,444~00

Crao'itor’s blame

 

 

81 Brian Drive, Trumbull, CT §
4425 Poncc De Leon Blvd. l

 

 

 

 

 

 

 

Nurhi.)ar S‘creet §
As of the date you fi|e, the claim is: Chacl< all that apply
§ Contihgent
Coral Gables FL 33146 § Un|iquidated
Cily crate Zil~'> code [;] Di,$puted
Who GWQS the d€b¥? Cll€€l< O“@‘ Nature of iien. Checl< all that apply
m D@l?i€>¥' l G“li' m /-\n agreement you made (such as mortgage or accuer
m Dai)tor 2 only v car loan)
C.;l ij)@bi;>r 1 am D&i;i@r 2 only ll Statutory lien lsuch as tax lleri, mechanics iiari)
Ei Ai least one or ma debtors and another 13 JUde@nl lien from a lawsuit
m Othar lincluding a right to oiisal}
l.] check ir this claim relates w a
community debt
Date debt was incurred 08/01/2007 Last 4 digits of account number m _m _"_" m_
---:-)“--2-| Santander Consumer USA Describe the property that secures the claim: 329 238.00 320 529.00 $8 709.00

 

 

Cradircr’s Narhc §

2013 Audi A-6
5201 Rufe Snow Drive

Numt)er Eitrc@l

 

 

As of the date you filo, tha claim is: Checl< ali that apply
m Comlhgent
Norrh Richiand Hiiis TX 76180 El unliquidated

 

 

Cl:y Stala ZlP Coda m mspde
Who owes the debt? Checl< one Nature of lien Cliecl< all trial apply
m D@blOF l Only 3a Ah agreement you made lowell as mortgage or secured
n Deb'lor 2 only CBF lUGli)

U gamer j and Debm 2 Omy Siaiuiory lien {such ac tax lien mechanics lien)

g At least one of the debtors and another Judgm@nl lien imm 3 YBWSUif

Olhar (ihcluding a right to crise’r)

UUE:J

m Cneck if this claim relates to a
community debt

Date debt was incurred Last 4 digits of account number m

 

 

 

Add the dollar value of your entries in'Coiumn A on this pago. Write that'numh"ezr here:` 5370,794~00

 

Oflicial Forrn 1060 Schedu|e D: Creditors Who Have Clairn:s Secured by Property page ‘i crim

CaSe 17-51434 DOC 1 Filed 11/29/17 Entered 11/29/17 13252:41

nevii>r 1 Antoinette M.
Firsl Narne l\.iirfdle blame

Murray CEG@ i`l`\.ll‘="lb%i` iii know/nj
i.ast blame

 

Additional Page

ritter listing any entries on this page, number them beginning with 2,3, followed

by 2.4, and so forth

 

 

 

Page 24 of 61

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

23 Wells Fargo Dealer Services Dencribe the property that secures the claim: 34,843.00 $3,060-00 $1,733-00
Ci'ec'iic)i"$ Narrie
P_O' BOX 1697 2006 Volkswagen Passat
i\.lurnb@r Elire)ci
As of the date you fiie, the ciaim is: C,neci< all that anciy.
Winierviiie NC 28590 l;| C<>niincerf
cary sine ziin code L.J Un|iquidateci
m Disputad
Who owes the debt? Checl< eric Nature of iien. Ciieci< ali trier appiy.
m g€biol’ i On\‘f m An agreemont you made {such as mortgage or secured
g Dai::’cor 2 oniy car ioarl)
[;] gebt@¢»§ and geb§m 2 Omy § Staiuiory lien (such as tax lien, mechanics lien)
i:] Ai least one di fha debtors and another q JUGQW€N lien from 3 iBW'~'"Uii
m Oilner -(includirig a right to niisei)
ill check mms ciaim recites m a
community debt
Date debt was incurred w Last 4 digits of account number~_ _M _ M
.4 . . . . .
Ll Ditech Fmancial LLC Describe the property that secures the claim: 332»779~40 S405>000~00 $32=779-40
Ci'ec'itor=s Narrie
P.O_ BOX 6172 81 Brian Drivc, Trumbull, CT
i\lurnbai' Streei
As of the date you file, the claim is: Cnack ali that apply
l;i Contlngent
Rapid City SD 57709 lI.] uniiquidaie<i
City Staie Zli> Coda U Disputed
o .
Who Dwe$ the debt Check 3“€‘ Nature of lien. Checi< ali that apply
m Debmr § mqu X.] An agreement you made {sucn as mortgage or secured
i:] li.‘»sbtor 2 only ear loew
U D@bi®i l and E’Ebi<>f 2 OH|Y §§ Statutory lien {such as tax llen, mechanics lien)
g Ai least one of inc denich and another § gudgm@ni lien from a lawsuit
l,l`,ld` "'l"i fit
L'.l Check if this claim relates to a g mw `W u mg a Hg ’ m 0 SE) m
community debt
Date debt was incurred _ insist 4 digits ct account number mm m M m_,__
E.S_! Unifund Corporation Dcscribe the property that secures the claim: S'Z,OO0.00 3405 000.00 332 000.00
Crec'iior`€> Nairie . .
10625 Techwoods Circle 81 Brian Drive, Trumbull, CT §
l\lurnbcr Stre-ct §
As of the date you file, the claim is; Checi< all that apply
Cincinnan 0H 45242 ;3 C@“i‘“@@“i
cary stare zip cone LJ uniiquiciaie<i
ja Disputed
Wno owes the debi? Checl< eric Nature of lien Checi< ali that apply
ij chtor 'i only §§ An agreement you made isuch as mortgage or secured
[;] Debior 2 only car luari)
il gamer 1 and gebwr 2 On|y 5 Sta‘rutory lien (such as tax lien, mechanics iien)
L`J Al ieasi erie mine dennis and nimmer j_a Judgment lien from a lawsuit
Ll Otlier (including a rith ic nilsei)
l;] check if this craim reiares to a
community debt
Date debt was incurred Last 4 digits of account number m m v__ m
Add tha,dollar value of'your.entries in ¢olumn A on this pager .Vll'rite that number hers: _ $39;622_40
if this is the last page of your form, acid the dollar value totals from all pagesx
. Wrife$liatnumberhere 3m

 

 

 

 

Oiiicial Form iGBD

Additiona| Pago of Schocluls D: Creditcrs Who l-lave Claims Socurad by Property

pace Z_.,,. vi im

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Antoinette

Fir$l` blame

M.

Nlir!rlle blame

Debtor l

Murray

L='ZSI Nam€‘

 

Additional Page

 

by 2.4, and so forth.

 

After listing any entries on this page, number them beginning with 2*3, followed

CBSB l1Ll mbel' lli knuwrl`;

     

 

a Griff'm Hospital

 

52,203. 16

$,405,000.00

Page 25 of 61

    

  

$2,203. 16

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe the property that secures the claim:
Clac`itczl"s blame _ v _
P_O_ BOX 337 81 Brlan Drlve, Trumbull, CT
Number Sire-et
l
As of the date you file, the claim is: Check ali that apl:l|y.
Derby CT 06418 53 C<>nfirlgerll
call sale zip code i..`i unliquidated
m Disputed
WNO GWSS the debi? Ch€Ci’\ On€- Nature of lien. Checi< ali that apply.
m DED'£OF 1 Oni‘/ l;} An agreement you made (such as mortgage er secured
g Debior 2 OnEy car ioarl)
[:| gewqu and gebwr 2 On|y a Statutc)ly lien {sucn as tax lien, mechanics lien)
ij At lezast cna cf the debiors and anothar ja JUdeem lien imm 3 13W5Uii
L..l Olher -(including a r'ighl 10 oii$el)
fl Check if this claim relates to a
community debt
Date debt was incurred La$t 4 digits of account number _ M__ ___
Sikorsky Financial Credit Union Describe the property that secures the claim: 324»807-38 5405,000-00 $24,807-33
Crediior‘s Name
1000 Oronoque Lane 81 Br1an Drlve,'Trumbull, CT
Numbe,. SWM (2) Judgment Llens
A:~; of the date you fi|e, the claim i:~>: Checi< ali thai applyl
m Coniingel'lt
stratford CT 06614 i;] unlaquld@le¢i
Clty Stste lef> Cclcle § D§Sputed
?
who owes me debt Check me' Nature of lien. Check all that apply.
m mewa 1 Omy m An agreement yml made (such as mortgage car secured
m Det>lor 2 only Ca;» learn
ij..\ Debtor 'l and Deblcr 2 only l.J Slatutory lien l$ucll as tax lien, mechanics lien)
L.l At least one of the debtors am another FQ _ludgm@nl lien from a lawsull
i;] i.. ',lcl' ‘lll ff...l
111 Check ifthis claim relates to a CHW (W U mg 3 mw 0 0 W)
community debt
Date debt was incurred Last 4 digits of accaunt number m _____ m
Intcrnal Revenue Service Describe the property that secures the claim: 335,000.00 $405 000.00 $35 000-00
Clec`iiul"s Nalne x
PO BOX 7346 81 Brian Drive, Trumbull, CT
l\lurnbe:-r Slrelal l
l
As of the date you fi!e, the claim is: Checi< all that apply
Philadelphia PA 19101-7346;__3 C°“f‘“§@“i
City Slate Z'.lP Con‘e L] Un|iquldated
m Disput@d
Wno owes the debt'? Checi< one. Nature of lien Ch@ci< ali that apply
5a DEb‘IOr 1 OHFV g An agreement you made (sucl'x as mortgage or secured
l;\ Dablc»r 2 only car loan)
[;| garner 1 and ganey 2 only 5a Slaluiory' lien lsuch as tax lien, mechanics iien}
U Al lex-asi erie of the uel>ions and another a Judgmem 1199 from 3 13‘1\'9111‘€
m Otiler (including a l'ighi la nilsei)
13 Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits al account number m wm m mw
` Add the dcllalf valuecf your entries in Column A on this pagel `Write that number harm , 362,011_04
if this is the last page of your form, add the dollar value totals from all page-si 2 42
Writc.t,h,§lt,,,.numl:i§l:lh§re= $…

 

foi<:iai Form 106[)

Acidlliona| Page Of Sr:hedule D: Creditors Who Have Claims Secured by Property

race _3”"_, Of im

 

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D@mm -; Antoinette M¢

Hrst Name Mm'die Name

Murray Case number 1111\1>¢11111;
Last Name

m List Others to Be Notified for a Debt That You Aiready l..isted

 

-Use this page amy if you have camera to be notified abdut yarn bankruptcy for a debt that you already listed in Part 1 For exampie, if a coiiection

agency is trying to cottth from yo_u for a debi; you owe to someone elee, iist the creditor m Part -.,1 and then list the collection agency hew Simifariy_, if

you have more than one creditor for any of the debts that you listed in Part ’l, list the additional creditors here. li you do not have additionai persons 10
he notified fo1 any debts in part ‘i do nat fill nut or submit wis page ` v

Tobin & Marohn

011 which line in Fart 1 did you enter the creditor?Z-S

 

Name

45 Court Street
Number Street

i.asi 4 digits of account number

 

New Haven

CT 06511

 

Ciiy

S£afe Zii:’ Cod€

 

wl
§ -------- Hertzmark Crean & Lahev LLP
Name

76 Center Street
Nurnber Streei

011 which line in Paa't 1 did you enter the cfeditor?2-6

Last 4 digits of account number

 

Waterbury
C ny

CT 06702
Siaie Z|P Code

 

Nathanson, Cipriano & Gambardella, PC

011 which line in Part ‘i did you enter the creditor?2.7

 

blame

P.O. Box 5516
Number Str€eet

Last 4 digits of account number

 

 

Hamden
city

CT 06518
Staie Zi¥’ Code

 

On which line in Part 1 did you enter the creditor?

 

blame

Last 4 digits of account number

 

Number Sireet

 

 

Ciiy

Siate ZiP Cod&

 

011 which fine in Part 1 did you enter the creditor?

 

Name

Last 4 digits of account number

 

Numf:)er Street

 

 

C':iy

State ZiP Coc|e

 

011 which Eine in Part 1 did you enter the creditor?

 

Name

Last 4 digits of account number

 

Number Street

 

 

cay

State 259 Code

 

CHiciai i-“Drm EGBD

Pari 2 05 Schedu|e D: Creditors Who Have Claims Secured by Property page i OS_EL

 

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1=1111;11111511;`%¢£>;1;13111¢ craig 11 disease

    

 

Antoinette M. Murray

¥ll$l blame l\/llddle blame Lasl blame

Debicr l

 

Dezl)lcr 2
[S§}OU$G, if Hlll'lg) l~':rsl blame wildlife blame l_a$l flame

 

Uniled Sla’res Banknlplcy Gc>ull for thai Dlslrict cf Connecticut
‘E’“‘“” Ci Cnecl< 11 this 15 an
amended filing

Casc number
(|i known)

Official Fcrm ’lOGE/F
Schednle E/F: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as pcssihle. Use i”art 1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPRlORlTY claimsa
List the other party to any executory contracts or unexpired leases that could result in a claimx Alsc list executory contracts on Schcdufe
A/B: property (Oriicia| Fr)rrn 'iGBAlB) and on Scheduie G: Exccutory Contrar:ts and Unexpired Leases (Oriicial Form 106('5). Dc not include any
creditors with partially secured claims that are listed in Schedule D: Crcdirors Who Have Claims $ncured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Cnntinuatinn Pagc tc this page. Gn the iep cl
any additional pagec, write your name and case number (if known).

 

 

 

 

List Ail of Your PR|OR!T¥ Unsecured Ciaims

 

 

t. Do any creditors have priority unsecured claims against you?
m Nc. 30 to Pari 2,
\’€S- , , , _ _
v 2, Listall cf your priority unsecured claims lf a creditor h`asn'lcrc than»c'n@, pricrity unséccred'clalm\ list the creditor separately for each claim Fcr
, each claim 'llsted, identify What type of claim il ls,_ ll a claim has both priority and ncnpricrity amonnts,` list inalclalrn here and shaw ninth priority and

v ncnpricrlty,amcuntsl As much as pcsslhlc§ list the claims in alphabetical crdsr according.tc the creditors harnc. »lf you have more than two priner
unsecured clalma, fill cut the Ccntinuatinn- Page cf Par"l,l"v if more than one creditor holds a padlcular claim list the other creditors 111 Pari._$»

{Fcr an explanation cl each lync'cl`clairn, sec_thc instructions for this forrn in the insiru`ction bcaklet.}

 

 

 

 

 

 

24 . .
Connecticut Department ofRevenue Serv1ces Last 4 digits of account number W~ m ___M w S 764~00 $ 764-00 5 0
l¢’rionty Ciedltnr`s Narne
Collections Unit Bankruptcv Tcam W“e“ Was the debt incurred?
Numl:ecr Slreei
450 Columbus Blvd., Ste. l

 

As of the date you fi|e, the claim is: Checl< all that apply

 

 

Hanford CT v 06103-1837 D Commgem

C:iy Slatc Lll~’ Ccde) m Un“qmdat€d

th incurred the deht? Checl< one. c Disputed

N Dsblor 1 only

m Debt<;>r 2 only Type of PRlORlTY unsecured claim:

m Dabtof 1 and 963wa 2 Omy :l Dcmestlc curade Obligalicns

U At mast me cf the debtors and another § Ta><es and certain other deth you owe the government
m amax if this cia§m is for a community debt ;l Clalrns for death cr personal iniury Whlle you Were
ls the ciaim subject tc offset? intoxicated

NG m Other, Specliy

g ch

 

Last 4 digitsl cf account number ____ ,__ m M 55 3 55

 

Pricrily Creditnr“s Narne
When was the debt incurred?

 

 

 

Numhcr Street
As of the date you file, the claim is: Chccl< ali that apply
D Coniingent

say male gin code l:] Unliquidsled

who incurred the debr? check cna § Dlt»lml€d

g Debtcr 1 only

n Dsbtor 2 On|y

m Deblcr 1 and Debtor 2 only

C] Al lcast one oithe debtors and another

Type of PRlORETY unsecured claim:
;l Dom@stic support obligations

Taxes and certain other debts you owe the government
Ci Check if this claim is for a communiw debt intoxicated

a
;l Clalrns for death 01 personal injury Whlle you Were
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ls the claim subject to offset?

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l:l Yes

 

 

 

 

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Firsl blame

Lesl blame

met All of Your NONPRlORlTY Urisecured Claims

 

 

 

Page 28 of 61

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Do any creditors have nonpriority unsecured claims against you?
g l\lo. You have nothing to report in this part Submit this form lo the court Wilh your other schedules,
Yes
4. 'l.ist all of ur non riorit unsecured claims in_ the al habeticel order of the’creditor'who.holds each claim ll a creditor has more than one
l_Y° P,Y... - P. _. _. . i.»
nonprionty unsecured olaim;_liel the creditoreepel'eiely for each-claim For each-claim listed identify what-type cl claim if is Do not list claims already
included in Pert 1,. if more than one creditor holds a ,artietiler claim list'lhe.other creditors ln' Part 3,;li ou have.rnore than three non riorily unsecured
claims till out the Conlinuation Page cl i?art 2. ~ . » . 1 . '
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Derby 06418
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42 l Griffm Hospita] l,ast 4 digits of account number _______Q _______ § ________________ § ______ 3 1~00
Nonprionly Credilor‘s blame Wh€n WHS the debt incurred?
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Number Blreel
Derby 06418 As of the date you file, the claim ie: Cher;l< all that apply
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Who incurred the debt? Check one m Ul'\liq‘~lldai@d
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m Debior 2 only _
U Debw 1 and namer 2 amy Type of NONPR\OR\TY unsecured clazm:
g Al least one of the debtors and another g Sludeni loans
_ _ _ _ _ ij Cibligalions arising out ot a separelion agreement or divorce
m Check if this claim is for a community debt mar you did not report as priority claims
is the claim subject w nffset? m ibeth to pension or profit-sharing planst and other similar debts
Ki reg K] Other. Specify Collection Agency for Grifl`m Hospital
m Yes
43 Griffm Hospital Last 4 digits of account number _Q ___6_"_ _7_ _”3W 1_00
Nonpriority Credlior`s blame _ §
When was the debt mcurred?
130 Division Street
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Who incurred the debt? Cheol< one m Commgem
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m YG § Oth@r_ Speciry Collection Agency for Griff`m Hospital
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Schedule E/F: Creditors Who Have Unsecured Claims

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Your NON?R!DR!TY Unsecured Claims m Continuation Page

 

 

 

 

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Norlpriority Credi§r>r’s flame

P.O. Box 24696

 

 

Nua‘nbrzr Strrzet
Columbus OH 43224
cary argue ZlP earle

Who incurred the debt? Checl< one.

53 Debinrl onl§.l

m Debtor 2 only

m Debl€)r 1 and Debtor 2 only

g i-\t leasr One of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

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4.4
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l.l Deb!s to pension or profl_t~snar:ng plans. and inner almllar debts
is the claim Subjecg to offset? § other Specify Collectu)n for Towers CCNY/Capstone
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Greenvine SC 29603 As of the date you fsle. the claim ls, Cr)ecl< ali that apply
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ls the claim subject to orfset? § when Spec§fy Debt Purchaser - Venzon ereless
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Chase Mortgage Last 4 digits of account number w ____ w __

When was the debt incurred?

As of the date you file, the claim isc Che<;l< ali that apply

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Type of NONF'R!OR¥TY unsecured claim:

Student loans
Obligations arising out cf a separation agreement or divorce lhai
you did not regsml as priority Claims

Debls to pension or profit~sharing plans, and other similar debts
Other. Specify

gm UU

 

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Schedule E/F: Creditors Who Have Unsecured Claims

 

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is the claim subject to offsct? E] given gpeciry
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Hamsburg PA 17106 As of the date you file, the claim is, Choci< ali that apply
city Sr'are Z|P Cr)de m Contingeni
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n Del;ils to pension or profit»sliaririg plans, and other Similar debts
is the claim subjeci to offset? 1;] Oiher. Speciiy
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P-O' BOX 60610 Whe was t e cleb incurred
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Hamsburg PA 17106 e y ‘ c "“ 3 e° a a appy
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Wbo incurred the debt? Checl< orio_ m D§Sputed
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Schedule Ein Creditors Who Have Unsecured Claims

 

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Your NCNPR!QR|TY Unsecured Claims ~ Continuatioli Page

 

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fs the claim subject to offset? l;] Q;h&r_ gpecify
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is the claim subject to offset? [;] when Spech=y
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Schedule Esz Creditors Who Have Unseci.ired Claims

 

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Your NONPREOR!TY Unsecured Claims - Continuation Page

 

 

 

 

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Page 32 of 61

 

 

 

 

 

 

 

 

 

 

 

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Schedule Ele Creditors Who Have Unsecured Claims

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Hamsburg PA 17106 As of the date you frle, the claim is. Cnecl< ai! that apply
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ls the claim subject to offset? [] given gpecgfy
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Harnsburg PA 17106 y ec a a app"/
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Your NONPREORITY Unsecured Claims w Continuation Page

 

 

 

 

 

 

 

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Rosenberg & Press, LLC c/o Rosenberg, Miller, Hite & Morilla, LLC

Nonr;riority Creditor’$ blame

2051 Main Street

 

 

 

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Stratford CT 06615
City Siaie Z!P (,`.or.ie

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is the claim subject to offset?

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Schedule E/F: Creditors Who Have Unsecui'ed Ciaims

 

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U Debtcr 1 end Debtor 2 only

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in Check if this claim is for a community debt

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Capital One Bank Last 4 digits of account number w_ ______ ____ 3 513.()0
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Sah Lake City UT 84130 As of the date you fi|e, the claim is. Cnecl< all that apply
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. . . . . ' d`d r'r. ` `i | ` _
l...\ Check it this claim is for a community debt , you f not repo as pm_m y C aim _ 4
g fleth to pension or prein-shering plane and other similar debts
ls the claim subject to offset? LE when 599ch Credlt Card
m No
m Yee
_J l

Laet 4 digits of account number ____ W___
When was the debt incurred?

As of the date you tile, the claim ie: Cnecl< all that apply

m Contingeni
l;l unliquidaied
C] Dlsputed

Type Of NONPR!ORITY unsecured Cleilrii.

Student loans
Obligeticne arising out cl a separation egreeineni or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans end other elmilar deth
Oiher. Speclfv

§:l[J C`lU

 

OffiCial Forrn 1965/ir

Schedule E/F: Creditors Who Have Unsecured Claime

 

page _8_ Gf_l$l

C as eA§|l' Olnett

Deblor l

z-Si¢i~°»ii

DOC 1 b|/§Lilr§yd 11/29/17 Entered 11/29/17 13:52:41 Page 35 of 61

Case number irii/,»¢iw.-n

 

F`irsl Name

l‘v'lic'dle Namc

l_asi Namo

m List others to Be Notified About a behl: That: You Airoady Listed

 

§ 5. Use this page only if you have others to he notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2‘ l’-"or

3 example, if o collection agency is trying to coliect from you for a debt you owe to someone olse, list the original creditor in Par€s ’i or
2, then fist the coileotion agency here. Simi|arly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, iisi the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill outer submit this page.

 

 

 

 

On which entry in Part‘l or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

blame
i.ine of (Check one,l: n Part ll Creditors with Prioriiy Un$ecureed Claims
Numb@’ 3“9€* U Pari 21 Creditor$ with Nonpriority Unsecurecl C!airns
Last 4 digit:s of account numberm__ m__ m m
City BKBi:-z ZlP Coi;le
On which entry in Par’c‘l or Part 2 did you list the original creditor?
Nam@
line of (Check one): l;i Part 11 Ci'ediiors Wiih Priority Unsecured Claims»“,
N“mb@' S"@&t l;l Part 21 Crediiors with Nonprioriiy Unsecui'ed
Claim$
Last 4 digits of account ni,imb<-er_____"__v W__~ … ____~
Ciiy Siaie ZiP ilon
On Which entry in Part ‘l or F‘art 2 did you lisi the original creditor?
Name
Line of (Check one): E Par"i 1: Crecliiors with Pr§oriiy Unsecured Claims
Ni'mbe’ St'e@i [;i F’ari 2; Ci'ediiors wiih Nonprioriiy Unsecui'ed
Ciaims
Last 4 digits of account numberm ___ ___ wm
Ciiy Slaie ZlP Code
On which entry in Part‘l or Part 2 did you list the original creditor?
Namo
Line of (Check one}: l;} Part 'l: Crediiors With Prioril;y Unsecured Claim§
N“mb‘°” S"U l._.} Pari 21 Crediiors With Nonpn'oiiiy Unsecured
Ciaims
v Last 4 digits of account number __ __ ___ m
Ciiy Sleie ZlP Oode
On which entry in Part“l or Part 2 did you list the original creditor?
Name
Line of (Check one): l:} Part 11 Crecliiors with Prioriiy Unsecured Claims
N“m”€ii S"eei §§ lion 21 Creditors with Nonpriority Unsecured
Cialms
Lasi 4 digit$ of account number mm __w m m
City Siate ZlF’ Cocle
On which entry in Part'l or Part 2 did you list the original crodil:or?
Name
Line of (Cl'zecl< one): m port 11 Crediior<s Wiih F’riority Unsecured Claims
NL""“@‘ 5"@9‘~ C} F’ari 2: Crei:liiors with Nonpnority Unsecurecl
Clzaim$
Last 4 digits of account number ___m mm ___
Csiy Siote Z§P Code
mm On which entry in Part ’l or Part 2 did you list the original creditor?
Line of {Check one): § Pari 11 Crediiors with Priority Unsocured Claims
Numi)er Stre:ei . l . .
D Pari 2; Credii"ors Wiih Nonpnonty Unsecured
Clairns
my game m owe Last 4 digits of account number ____ ___ ___
Dfilciol Forni iOGE/F Schedule Ein Creditors Who l-lave Unsecured Claims page 9_ of _1_0_

 

mm 1CeisieAl%O?h;§>&::L43@f Doc 1 bil=uirlr§ycl 11/29/17 Entered 11/§39$;%;“&:%:41 Page 36 of 61

 

Add the Amounts for Each Typé of Unseoured Ciaim

 

 

6. Totai the amounts of certain types of unsecured ciaims. This information is for statisiicai reporting purposes only. 28 U.S.C, § i$§.
Add the amounts for each type of unsecured claim.

_ rcralciairn

 

 

 

 

 

1 l D ‘ i' t' ii 6 s O-OO
_rota¥ciaims iia omestic support oh iga lo s a §
from Pa'.t 1 v 610. Taxes and certain other debts you owe the
government 6b $ 764.00
6c Ciaims for death or personal injury while you wore
intoxicated 5a $ 0_00
Gd. Othor. Add all other priority unsecured ciaims.
Wrne that amount here Sd. + 5 0-00
69 'l“¢:)taiiK Add lines Sa through dd Se_ 764'00
$
Total claim
v .§.ma! cmi-ms iii Student loans Gii 5 40,964.00
from P£"t_ 2 _ 69 Obligations arising oui of a separation agreement
` ` or divorce that you did not report as priority 0 00
claims 69 § '
Sh. Debts to pension or profit~sharing plans, and other 0 00
similar debts Bh. $ `
Si. Ol:hor. Add ali other nonprioriiy unsecured claims 4,762.00
Wriie that amouni here iii + 3
€»j. Total. Add lines Bfihrough i:`>ii Sj. 45,726-00
3

 

 

 

 

 

 

Oii':oial i-`orm lDESE/F Schedulc EIF: Creditors Who l-lave Unsecured Claims page wl__Q of __1_0_

Case 17-51434 DOC 1 Filed 11/29/17 Entered 11/29/17 13:52:41 Page 37 of 61

Eif.iu_i.!\»:thijs, information to identify your case:

Debmr Antoinette M. Murray

Firsi Name l\/lir.li:lle Narne l_a;=i N;=ime

 

Dei>ior 2

(F)pous@ |f iii\'lg} First riame Middle blame Lasi Name

 

Unitecl Siales Banl<ruptcy Coun for the: District of Connecucut

(Siaie`i
Case numizer

iiri;mwli; [;f Check if this is an
amended filing

 

 

 

Officiai Form 1066
Schedule G: Executory Contracts and Unexpired Leases mrs

 

Be as complete and accurate as ;)oesii)lex lf two married people are filing together, both are equally responsible for supplying correct
information if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additionai pages, write your name and case number (ii known)x

1. Elo you have any executory contracts or unexpired leases?
No. Check this box ann file this form Wiih the court with your other schedules You have nothing else to report on this form
n Yee. Fili in all of the information below even ii the contracts or leases are iisied on Soheiju/e A/B: Properiy (Oificiai Form 106A/B).

2. List separately each person or company with whom you have the contract or leasen Then state what each contract or lease is for (for
example rent, vehicle lease, cell phone)x See the instructions for this form in the instruction booklei for more examples of executory contracts and
unexpired Eeases.

l?ersonor company with whom you have the contraotor iease` _` _ ;- , ' ; ` S’cate what ihe contractor iease is'for

24

 

Name

 

Nurni)er Street

 

Ciiy State Z|P Code

 

 

blame

 

i\iurni)er Sii‘eei

 

Cify Si'éxie Z|P Code
23

 

Narne

 

l\iumi:>er Streei

 

Cliy Siaf& ZlP flole

 

 

Name

 

Number Sireei

 

City Siaie Z|P Code

 

Name

 

Nurni)er Streoi

 

 

City v _ _ S_iete _ZiP Code

Offioial Form 106@ Scheduie G: Executory Contracts and Unexpired Leases page 1 of_l_

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v Fifl »in_'_t_his jnforcrtatioitto identify your _case:

      
       
    

D&btor 1 Antoinette M_ Murray

i`-'.‘=si Nzrme

 

   

Mir.idl-;» Name i_aist Narne

 

   
 
     
 
    

Debi:or 2
(SDOUSS, if filing} Farst szme Mi!£die Name L'=ist Narrie

 

L)nited Staies Bani<ruptcy Court for ihe__*___'_ _________________ District of Connectlcut

Case number
iii knowi'i‘»

 

amended filing

Official Fc)rm iOBi-i

 

Schedule H: \'our Codebtors 12/15

ill Ciiecl< iithis is an

Codebtors are people or entities who are also iiable for any debts you may have. Be as comptete and accurate as possible if two married people

are filing together, both are equalty responsible for supptying correct information lf more space is needed, copy the Aclditional Page, fiii it out,

and number the entries in the boxes on the left. Attacli the Additionsi Page to this page. On the top of any Additional Pages, write your name and

case number (if known)t Answer every i:;iuestix:ir;b

 

1. Do you have any codehtors? (if you are filing a joint asset do not list either spouse as a oodsbtor,)
il No
§ Yes

2, Within the last 8 years, have you lived in a community property state or territory? (Commuriify property states and territories include
Arizona, Califomia, idaho Louisiana, i\levaoieix New Me)iico: Puerto Rico: ?oxas, Washirigtori, and Wisconsin")

Xl No. Go to ime 3,
i:l Y@s. Did your spouse former spouse, or iegal equivalent live Witii you at the time?
i;l No

i.l Yss. in Whicii community state or territory did you iive? . Fili in the name and current address of that person

 

Name of your spouse` iormer spouse, or legal equivoieri:

 

i\ii.imber Streei

 

City State ZiP Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor oniy if that person is a guarantor or cosigner, Make sure you have listed the creditor on
Schedule D (Official Form 1060), Scheduie E/F (Official Form 106E/F}, or Schedule G (Of'ficial Form WSG). Lise Schedule D,
$chedule E/F, or Schedu!e G to fiil out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

t?i)lumn 1: Your so¢:ii=:trto'rl ' f ' ' _ v ` ' , j l " .» . l _’ Coliimn 2: Ths' creditor to whom you"owe the debt
` ` _ . . . . l Cheoi< ali scheduies that appiy:
3»1 Peter a eA M rra
_m] g y ' “ y ill screws oi ime _
blame 4
81 Brian Drive Cl Sciieduie E!F, line‘_l_'_____
manner sin-asi i;.l Scheciuie G; ims
Trumbull CT 06611
my state zip code
32
i.l Ssiiedoie D, line
Name
i;l Scheoluie E/F, line
Number St:'eet m SChéCiUl€ G, iiii@
City State Zlii> Cocir-.>
343
N’ ij Sci'ieduio D, line
¢!?i'l€%
m Soheduie Eli'". line mm
Number Sireet m Sc,heduie G‘ line um_____
Ciiy State ZlP Cocie

 

 

 

 

Ofiicial Form 106§-! Sohedule H: ¥our Codebtors page t isva

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:_,;Fill,,in misinformation to identify your case:

      
      
   
      
    
   

  

Antoinette M. Murray

l\llidole Name Last Neme

Dei)ior l

 

Firsi Name

   

  
 

Debtor 2
{SpollS& if Nian) First Narrie l\:lidole Name l_asi Nan‘re

 

Connecticut
israel

Llriited Siales Banl<ruptr:y Court for the: Distriot of

Check ii this is:
m An amended filing

ill A supplement showing postpetition chapter 13
income as of the following date:

OfflCiGli FOi'm 1963 M";"W
Schedule l: Your income me

Be as complete and accurate as possible lt two married people are filing together (Debtor ’l and nebth 2}, both are equally responsible for
supplying correct information lt you are married and not filing jointiy, and your spouse is living with you, include information about your spouse
if you are separated and your spouse is not filing with you, do not include information about your spouse if more space is needed, attach a
separate sheet to this torm. On the top of any additional pages, write your name and case number (if known). Answer every questionl

mbes¢:rihe Employment

Cese number
iit known)

 

 

 

 

i. Fi|l in your employment ' . »' ' ` ’ y v
information_ ,..,_Dehtor'.fl'~ ; ' . . Debterzor.non-filingspouse y

 

ii you have more than one job,
attach a separate page with

information about additional Emp'°ymem Stat“s 33 Empi@yed in Emi)l@yed
employers Ll Not employed i_l Notempioyed
include part»tirne, seasonai, or
self~employed work. L_P_N_

Occupation

 

Occupation may include student
or homemaker, if it applies

 

 

 

 

 

Re al Care of Waterb
Employer’s name g my
Employer’s addres$ 177 Whitewood Road
i\iumi>er Street Nurnt)er Sl:'eet
Waterbury CT 06708
City State ZiP Code City State Zli;` Cocie
l-iow long employed there? 5 years

m Give Details About Monthly income

 

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, Write 350 in the space include your non»iiiing
spouse unless you are separated

ii you or your non»filing spouse have more than one empioyer` combine the information for all employers for that person on the lines
below if you need more space attach a separate sheet to this form

l lForft?re_t'.itor ’i ` For Debtor 2 or
' . - » non»filing spouse

 

2. List monthly gross wages, salary, and commissions (l:iefore all payroll

 

deductions). if not paid monthly, caiculate Whet the monthly wage would be 2, 34,799.21 $
3. Estimate and list monthly overtime pay. 3. + $ -l- 3
4. Catculate gross income. Add line 2 + line 3. 4. $4»799-21 $0-00

 

 

 

 

 

 

 

Official i:orm 106l Schedule l: Your income page ’l

 

 

Demr 1 Antolnette M. Murray
F-'ii'st Narne l‘Jllodia blame Last Name
Copy line 4 here ............................................................................................ ') 4.

tie
511
Sc_
t")d.
tie
5€.

5g,
Sh.

U}

Sa,

3d

Bf,

 

>CJ

8c
8c

8a

5_ L.ist ali payroil deductions

`i`aic, Medicare, and Social Seourity deductions 5a
Mandatory contributions for retirement plans 5k1
‘i!oiuntary contributions for retirement plans 5c.
Required repayments or retirement fund loans Bd.
insurance 5a
Domestic support obligations Sf.
Union dues 59
Other deductions Specify: Disability Sh.

 

. Add the payroii deductions Add lines 53 + 5b + 5c + dd + 5a +St + tip + olin 6.

7. Calcuiate tota! monthiy take»home pay. Subtract line 6 from line 4. 7.

ii Llst all other income regularly received:

Net income from rehtai property and horn operating a husiness,
profession, or farm

Atteoh a statement for each property and business showing gross
receipts ordinary and necessary business expenses and the total
monthly net income 8a

interest and dividends Sb.

Farnily support payments that you, a non-filing spouse, or a dependent
regularly receive

include alimony spousai support chiid support maintenance divorce

settlement and property settlement 8c
Unempioyment compensation t 811
Sociai Security Be.

Other government assistance that you regularly receive

include cash assistance and the value {ii i<;nown) of any non-cash assistance
that you receive such as food stamps {henefiis under the Supplemental
Nutrltion Aesisiance Pro~gram) or housing subsidies

 

 

Specify; Bf~

Sgl Pension or retirement income 39
Bh. Other monthly income Specity: Bh.

a Add all other income Add lines 8a + tip #+ Bo -r Bd + Se + tit -i-SQ +- Sh. e.

iii Caloulate monthiy income Add line 7 + line 9
Add the entries in iine ii) for Dehtor 1 and Det)tor 2 or non-filing spouse 10_

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CSSE i’lUmb€l' rif i<non'n)

 

 

Page 40 of 61

 

 

 

 

 

 

 

 

11. State ail other regular contributions to the expenses that you list in Schedule JK

include contributions from an unmarried partner, members of your household your dependents your roommaies‘ and other
trlends or relatives

Do not include any amounts already included in lines 240 or amounts that are not availabie to pay expenses listed in Schedt/!e J.

Speoily;

 

13. Do you expect an increase or decrease within the year after you file this form?

§ No.

i2. Add the amount in the iast column of line 10 to the amount in line 'l‘l. The result is the combined monthly income
Write that amount on the Summary of Your Assets and Liat)ilities and Cen‘ain Si'atistica! information if it applies

 

 

 

 

'f' m saw 1 m other z ,,.; '
$ 4,799.21 3 0.00
3 959_85 3
$ $
3 $
s s
$ 62_88 $
s it
3 76.49 $
.;.$ 85.02 + 3
§ 1,184_24 § 0.00
$ 3,614.97 $ 0_00
3 4,198.85 $
rt 99
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3 3
+$ +i`»
3 4,198.85 g 0.00
$ 7,813.82 + $ 0_00 = $7,813.32
it + is
7,813.82
t2. 35
Combined

monthly income

 

Yes. Explain;

 

Unsure.

 

Ofiioial Forrn iGt:`)l $ohedule l: Your income

page 2

 

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. »F'll"n this informants tp Q§niify`yo,urcas§; .

    
    

mmr 1 Antoinette M. Murray

First Name Mizidie Nams L.asi l\iarne

 

Check if this is:

 

  
   
 
    

D@btor 2
(Spou&e, ii iii§ng) First Name ivlindie Neme Lasi Narne

 

ill An amended filing

m A supplement snewing postpeiiiien chapter 43

Connecticut .
M---- expenses as of the fnl§owing date

United Siates Eiankruptt:y Court for tne: Disi:”ict cit
(Stats}

  
    

Cese number Nil\/l / DD/ Y\'YY

iii knciwn‘;

 

 

Officiai Form 106J

 

Schedule J: Your Expenses ma

Be as compiete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct
information li more space is needed, attach another sheet to this form, On the top of any additional pages, write your name and case number
iii known). Anewer every question

Describe Your Househoid

 

'i. is this a joint case?

13 No. 60 to line 2.
3 Yes. fines Dehtor 2 live in a separate household?

L..] i\le
§§ Yes. Det)tor 2 must file foicis| Ferm iO€JQ, !:".Xpenses for Separez‘e Hsusshold cf Debtor 2,

 

 

 

 

 

 

 

 

2_ Do yen have dependents? L_} NO
Dependent’s relationship to Depent;lent’s Dpes depen<ient live
if)o not list Del)i;nr 1 and m Yes. l-"il| out this iniormaiion for nebim' 1 Or D@bfof 2 age l with you?
D@bml’ 2 each dependent .......................... = al
Do not state the dependents SOH 20 " X.] NO
names : Yes
n Nc)
i._] Yes
13 No
n Yes
jj i\lo
C] Yes
m Nc)
m Yes
3. 00 your expenses inciude w NG

expenses of people other than
yi:)ui'sel'lc and your dependents? n Y@$

  

Estimaw Your Ongoing Monthly Ex|l*i"‘“Ses

Estimate your expenses as of your bankruptcy filing date uniess you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the iep of the form and fill in the
appiieahie date,

b include expenses paid for with non-cash government assistance ii you know the vaiue of

 

 

 

such assistance and have included it on $chedule l: Your lncr)me (Offic:ia| Form 'iBSl.) ' v Your expenses . . '
rt "i'he rental or home ownership expenses for your residence inciucie first mortgage payments and M;;GZ)MOBWWMWWMMM
any rent for the ground or lOt. 4‘
if net included in line 4:
4a Rea| estate taxes 4a 550
db. Prcperty( nomeowner‘s, or renter’s insurance an $0
se i~inme maintenance repair, and upkeep expenses 4a $100~00

441 Hc)nie@wnet”s esseciaiic>n or condnrniniurn dues 4d_ 350

Of‘iiciel an'i 1063 Scheduie J: Your Expenses page 1

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Case number inn/mmi

newer 1 Antoinette M. Murray
i-'nsi Name il/iiddie N'afne Lasi blame
5. Additionai mortgage payments for your residence such as name equity insane
€. Utiiities:
6a Elecinciiy\ heai, natural gas
6b Wetei` Sewei; garbage collection
ec. Teiephc)ne, ceil phone lniernet, ssal:eilitel end cable services
Sd. ©iner. Specifyzcen Pho“e
7. F<)od and housekeeping supplies
8. Ghilc|care and children’s education costs
9 Cli)thing, laundry, and dry cleaning
in Personal care products and services
11. Medica| and denial expenses
12_ Traneportation. include gae, maintenance bus ortrain fare
1130 not inciurie car g;ii.f»iymei'\tel
13, Entertainment, clubs, recreation, newspapers, magazines, and books
14" Charitable contributions and religious donations
15. insurancex
Dc) not include insurance deducted imm your pay oz' inciuded in lines 4 or 211
inn Life insurance
isn l~lee|tn insurance
15¢:. \/enlcie insurance
15<1. Oiner insurance Specify:
16. Taxes. 00 nc)i inciu<ie taxes deducied from your pay or included in linen 4 Or 20.
Speci§y; Personal Property Taxes
174 instaiin'ient or leaee paymente;
17a Cer paymenie for Venii;ie 1
i?b. Car paymenie for Venicie 2
i?c. Otheri Speciiy:
i?cl. Other. Specii‘y:
18 Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on fine 5, Schedule l, Yourincome (Officia| Form 1061),
iQ. Oti'ser payments you make to support others who do not live with you.
Specify:
20.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your mcome.

203 Mengages on inner property
20b. Rea| estate taxes
20<:. Propeny, homeowner’s, or renter’e insurance
2041 Ei/laintenance\ repeir, end upkeep expenses
v ;0@. Homeowner‘s aesociatien or condominium dues

Of¥iciai Form 1063

Schedule J: Your Expenses

613
6b
60

Bd.

15.

’l7a.

170

Wd.

'!S.

19

20a
ZOb.
200,
20d,

20@.

Page 42 of 61

Your expenses

<»M\<`\WW»\\\WMM

 

 

30

 

$295_00
$213.00

_,______“__......,..._.__.......W

311().00

$225.00

 

 

$800.00

30

$100_00
53120.00
5395.00

 

 

 

$175.00

 

5130
310.00

 

 

 

 

 

$717.00
198.00

59

$0

$O

 

 

 

 

 

 

 

 

page 2

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D€".‘bfol” 'l Antolnette M l Murray CZHSEZ numb&l" iii know/ifr

 

Fi!sl Naine Micidie blame Lasi blame

21. Otl'ier, Speoify:

 

22 Caloulal:e your monthly expenses.
223 Acld linen 4 through 21
2211 Copy line 22 (rnontnly expenses for Deoior 2), ifany` from Oificie| Form ‘lOSJ-Z

22a Aod line 223 and 22b. Tne result le your montniy exoenees.

.23. Calculai;e your monthly net income

233 Cooy line 12 (your combined month/y income) from Sohedu/e !.
23l:i. Copy your monthly expenses from line 226 above

230 Subirect your monthly expenses from your monthly income
Tiie result is your monthly net income

244 Do you expect an increase or decrease in your expenses within the year after you file this form?

For example cio you expect to finish paying for your car loan Wiinin the year or do you exoeci your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage’?

K] N<).

Page 43 of 61

 

21.

223

22b.

220_

233

23b.

230

+$0

 

 

$ 6,293.00

$
$ 6,293.00

 

 

$7,813.82

_ $6,293.00

 

 

$1,520.82

….......-_-_---.-

 

 

m Y€S' Exolain here

 

Of?ioial Forrn 1063 Scheduie J: Your Expenses

page 3

 

 

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Fill in this informationto identify your case:

        
    

Debtor 1 Antoinette M. Murray

Fr.'sl Narrz-e

 

lrliddle Name Lasf blame

     

   
 
    

Del)tor 2
(Spouse, ii fliing`) Fi.'st Nan`-e Nlidc$'le Narr\e last N:arn€

 

United Slalee Bani<ruptcy Court for ther Disirict of Connectlcut

   
   
   
 

Case n u mber
(ll known)

 

 

Oi°iicial Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy 04/16

Page 44 of 61

ill check rf this is an
amended filing

 

Be as complete and accuraie as ;n',lssiblel |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

m Give Details Ahout Your Marital Status and Where You Lived Before

 

- 1. What is your current marital statue?

m Nlarrled
§ Not married

2. During the last 3 years, have you lived anywhere other than where you five now‘?

§§No

a Yes. List all of the places you llved in ihe last 3 years Do not include Where you live now.

newark ,. v 1 ~ " oates Deizmrii' ’ oenmrz:~ 5

lived there

n Same as Deblor 1

 

 

 

 

 

 

 

Stale ZIP Coda

 

 

 

 

 

From

l\lurnl')er Slreel Nurnber Street
To

City State leD Code Cily

0 Same as Deblor l

From

Nurnber Streez Nurnber Street
To

Cily State Zlij Code City

Slate ZlF’ Code

Dafes Bebtnr 2
lived there

m Sarne as Debtor 1

From
To

ij Same as Debtor 1

i-'rom

To

_ 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Cornmuniry property
alares and lerr/'rories include Arizona, California, ldaho, Louisiana, Nevacia, New N|exico, Puerto Rico, Texas, Washin§lon, and Wisconsln.)

@ i\lo
a Yes. l\i’lal<e sure you fill out Schedule H: Your Codebtors (Official Form ”lOBl-l).

m Explain the Sources of Your income

Offlcial Forrn 107 Statement of Financial Affairs for |ndividuals Fi|ing for Bankruptcy

page ’l

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Antoinette M.

Nl§ddle Name

Murray

Last Nenie

Debtor l Case number iiii<ncwn;»

 

 

Firsi blame

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fiil in the total amount of income you received nom all jobs and all businesses, including part»time activities
if you`are filing a joint case and you have income that you receive together, list it only once under Debtor i.

§ No
Yes. Fiii in the details

        

Groes income
(i:iefore deductions and ,_

Si:iurces of income _
owens aiiiiiar_a'ppiy, ,

Gross income v ` `
(oefore demotions and

Sourcee of income
Cheek; afl ihat apply

exciusions)»" exclusions)»` ' "

From January,t cf current year umw Wages, commissione, 92 855 50 n Wages; commissiona,

. bonuses“ tips 5 ’ ' bonuses tips 3
the date you filed for bankruptcy: ’

m Operating a business m Ooerating a business

V\i'a eo commissions ij Wa es commissions

F r l r: 9 = ' g ‘ _ '
o ast calendar yes bonuses, tips $ 76,016-00 bonuses, tips $

(JBNU€\FY 1 to UEC@VWD@F 3?¢2\7€_`1;\6?._.,_.“__ Operating a business n Operating a business

For the calendar year before that_ Wagee\ commissions‘ m Wages_ commiesions,
bonuses, ripe $ 843648.00 bonuses, rios $

(January 1 to Deeernoer 31,2015 )

3 Operating a business
YYYY

§ Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardiess of whether that income is taxable Exarnpies of other income are alimony; child Support; Socia| Security,
unern;:iloymen‘rx and other public benefit payments pensions rental income; interest dividends; money collected from iawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it oniy once under Dei)tor 1.

l_ist each source and the gross income from each source separately Do not include income that you listed in line 4.

iii l\io
D Yes. nix in the devine

 

 

 

 

 

 

Sources;of'inr:orne 1 Gross incomejfrom » »Sources cf income times income from
oeseibebeiow\ leach Swr¢¢ ~‘ . nasaan hew each source
v (before deductions and (before deduction§`and
exciusions),_ g exclusione) _. ’
From January 1 of current year until
the date you fited for bankruptcy:
35
For last calendar years $
(January 1 to Decemi)er 31, } $
YYYY
$
For the caiendar year before that $
(.ianuary 1 to December 31, `) $
yYYY
35

 

Otficiai Form tii? Statement of Financial Affairs for lndiviciua|s Fi|ing for Bankruptcy page 2

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gemor 1 Antoinette M. Murray

Flrst Name Middle Name last Na.'ne

Case number nimsz

 

List Certain payments You Made Before \'ou Filed for Bankruptcy

_ 6. Are either Debl:or 1’$ or Del)tor 2’a debts primarily consumer debts?
n No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts¥ Consr/merdebts are defined in 11 U`S.C, § 1131{8) as
“incurred by an individual primarily for a personal, iamiiy, or household purpose."
During the 90 days before you filed for bankruptcy did you pay any creditor a total cf $6;425* or more‘?

[;l No. Go to line '/',

o Yee. List betow each creditor to Whorn you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony Aiso\ do not include payments to an attorney for this bankruptcy case

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

Yea. Debtor1 or Debtor 2 or both have primarily consumer debts.
During tile 90 days before you filed for bankruptcy did you pay any creditor a total of $600 or more?

n No. Go to line 7.
m Yes, List below each creditor to Wnorn you paid a total of $SOO or more and the total amount you paid that

creditorA Do not include payments for domeetic Support obiigations, such as child support and
alimony A|So, do not include payments to an attorney for this bankruptcy case

bates of ' Total amou~nt`paid Arnount you still owe y Was.titis payment for.i.
navme“¥_, ' " ' ` f , ~ ` ’ ~' .-
Bayview Loan Servicing 9/1/]7 $2,400.00 3341,556.00 §§ M rt
o gage

 

Creditor"S Name

4425 Ponce De Leon Blvd. ii ear
n Creclit card

 

Number Street

l;] l.oan repayment

 

a Suppiiere or vendors

 

 

 

 

 

 

 

 

 

 

 

Coral Gables FL 33146 U
city alma zlP code ethel
2,151.00 29,238.00 __
Santander Consumer USA 9/1/17 3 3 LJ Mmgag€
Creditor’s Name
. ii Car
5201 Rufe Snow Drlve 10/1/17
Number erred n Cied“ said
13 l.oan repayment
1 1/1/17 F
5 Suppliers or vendors
North Richland HillsTX 76180
city craig zlP code m ether
$ § § Mongage
Creditor`s. blame
a Car
Nurnber Street m Credit Card
|;] Loan repayment
m Suppiiers or vendors
city alma zip code L’! Omer

 

 

Otticia| Form 107

Statement of Financial Affairs for individuals Filing for Bankruptoy

page 3

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Antoinette

Firs.t blame

Der)tor 1

Murray

Last Name

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Case number ij/_i tamm

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an inelder?
molders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in controi, or owner of 20% or more of their voting Securitles; and any managing

agent including one for a business you operate as a sole proprietor. 11 U‘S,C, § 101 include payments for domestic support obligations,
such as child support and alimony

@No

l;l Yes. l_isl all payments to an insider.

insider’s Name

Dates of

 

 

Number Street

 

 

City

State ZlP Code

 

insider"s Narne

 

Nurntiar Street

 

 

City

State ZlP Code

v k »Totatamouni j ,Amou,nt you still Reason for this payment
payment .. ’ ` ' ' `

paid 1 owe ‘ . ~

 

 

3A Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

include payments on debts guaranteed or oosigned by an insider

 

 

 

 

 

 

m i\io
il Yes. i_ist all payments that benefited an insider.
,Dares` of .` `Total amount;' k Amuunt you still iReason for this payment `
’ payment mud °We include creditors name
Rey Murray 1/2017 3 1,575.00 § notion for S<m paid m Housatonic Com
masters maine College
81 Brian Drivc
Nurnber Streei
Trumbull CT 0661 1
City Stale ZlP Code
$ 3

 

insiders blame

 

 

Number Street

 

 

Ciry

Otticiai Fon'n 107

.State mle C.‘?‘j?_ _ .

Statement of Financial Affairs for individuals Filing for Bankruptcy

 

nunity

 

page 4

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Demor 1 Antoinette M. Murray

Case number iii knew
First Name M:ddle wayne L.ast Name

 

identify Legai Actions, Repossessinns, and Foreciosures

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?
i.ist ali such matters, including personal injury cases, small claime actions divorces, coilection suits, paternity actione, support or custody modifications
and contract disputes

l:l l\io
ii Yes. rim m the details

 

 

 

 

 

 

 

 

 

Natu,re or the case . * Court or agency ' ’ ' ' ` Status, offhe~ case
. . . . _ Collections Bridgeport Superior Court _
Case me S1k0rsky Flnanclal Credlt Unlon \. egan Name i;| pendan
Antoinette Murray 1061 Main Street g on appea[
Number Sireet COnCiLid€d
CaSe numb%; FBT-CV-XX-XXXXXXX-S Bridgeport CT 06604
Ciiy mate ZlP owe
. _ Collections - Small Claims Bridgeport Superior Court _
ease title Umfund v. Antomette Murray mm Name a Penclmg
""" i
1061 Main street L'] O” await
Number Sireei CC)nCii.ided
Case number SCC'478979 y Bridgeport CT 06604
§ city annie 119 code

 

; 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ali that apply and fill in the details below

13 i\io. Goioline ‘i’i.
>i`"_'l Yes, rain in ina information below

D'eecribe tide property `_ .` ) l . Date Value of the property

 

Uniflmd Corpol,ation Wages Gamished Re: Judgrnent

 

 

 

 

 

 

 

`TO date $2,377.25

Creciitor‘s blame m
10625 Techwoods Circle k , . ,
Number street Expiain what happened ` "

l.._..l Property was repossessed

8 Property was foreclosed
Cincinnati OH 45242 @ Property Was garnished
Ciiy stare zln code g Property was attached seized or ievied.

besciribé the property v ,` l ` ' ' Date ' ">Vaiueef_trxe»propert;

5

 

 

Creciitor`a Narne

 

 

 

Nurnt)er Street . '. `» \ .
Explain»wha& happened '

 

l:l Property was repossessed
Property was foreclosed

 

L_.l
my State Z|W_;Dde § Property was garnished

Property was attached seized or ievied.

Oificia| i~”orm 107 Statement of Financial Affairs for individuals Filing for Bankruptoy page 5

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Antoinette M. Murray
Debior 1 Case number iii kr¢m»/n;i
Firsl blame M=dd|e Name Las€ Name

 

11. Within 90 days before you filed for hankruptcy, did any creditor, including a bank or financial institutiun, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

m No
§§ 'Yes. i-“iii in the deiaii@.

 

 

 

 

 

 

_ z Dé$crlb,e thé:-ia(`:ti<.m tile credi§;c_zr'took -; , `Dafe action amount
CT Department of Revenue Servlces ' , : , ' . ; `- .. ` ’~ " v was`£aken '~ . '
Crediior`sl\iam@ /”"' v F' “" " ` " " ` "
Collections Un`t B k t T 3
1 an rup cy earn 11/2017 § 25.00
Number Si:reel
450 Columbus Blvd., Ste. 1
Hartford CT 06103-1837 5 8 2 6
Ci€y Sfaf@ Z'P C°d@ Lasl:¢l digits of accouninumber: XXXX»»“__ ___n __A m

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodianz or another official?

m No
§§ Yes

m List Certain Gifts and Contributions

» if$_Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than 3500 per person?

§§ No
m Yes. Fili in the details for each gift

 

 

 

 

 

 

 

 

 

 

 

 

 

Gifis'witli a total iralue of more ihan`$£`)l)`d` ` Describe ifaé'gil‘tsi . . v y Date_s you gave v, Val,ue k
perperson . . v . 5 ' ~ ~. ' thegifts` . ` .-,- .
l $
Pe\son to Whom You G?ive the Gift
$
Number Streei l
City Siate Z|P Cede
Person’s relationship to you
Gifts with a total value of more than.$$[l£l D;_zscribe.lhé gifts '_ '» v ` ' ,_ ,' Dales you gave l j blame ` `
perperson ` , v .' . '» ' 1 ` ' »- w the gifts ` q v »j. "
$
Person to Whom \’ou Gave ime foi 4
$

 

 

 

Nu mber Slreet

 

City Staie Z|P Code

P€-zrson"$ relationship to you

 

Of‘ficia| Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 6

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Antomette M' Murray Case number m knew
Firei blame Mlddie Narne last Ne.’ne

Del)ler 1

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

KJNG

L_.\ Yes, Fili in the details for each gift or contribution

Gifte.orcontributione to charitiesl describe whalyoirconirihuted l b n § " . - Bate you y ' ’Value
thattotalmorethan§£ioo l »~ '. ~ »~ .. ’ ~ - . onntributed

 

 

Charity’s Narne

 

 

Number Street

 

City Staie ZlF? Code

 

   

Part 6: List Certain Losses

` 15 Within ‘l year before you filed for bankruptcy or since you filed for bankruptoy, did you lose anything because of theft, fire, other
disaster, or gambling?

§ No
ill Yes. rios in me detailed

 

Desc_ribe the properly you lost and ` Descrihe~any insurance coverage for thefk')-ss ` : Daia of your v Value of property
how the loss occurred ' _ . _ »_ _ , _ oes - ' ` iost »
_ _ _ . include the amoun§ ihat~ins_uran<:e haa paid». `l.iei pending insurance ~
claims on iine 33`0€ Scheduie A/B: Properiy.
$

i

m List Certain Fayments or Transfers

 

164 Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone

you consulted about seeking bankruptcy or preparing a bankruptcy petition?
§nciude any atterneys, bankruptcy petition preparers, or Creclit counseling agencies for Services required in your bankruptcy

m No
Xl Yes, rm in the ue:ails_

 

 

 

Desr:'ription ann vaiue of any property nans¥erred§ ` Dale payment or Arnount of payment
Money Management Intemational transfer was . ’
Person Wh<> Waa i=’aid v made
l Bankruptcy Credlt Counsehng » 11/28/17 2500
Nurnoer Sireet § __.___...~.. 3
3

 

 

Ciiy Siate Z|P Code

Www.bankruptcycertiticate.com
Emaii or webrsite address

 

 

 

Person Wno Made the Paymenl', if Not You

Oifioia| Form 167 Statement of Finaneial Affairs for individuals Fi|ing for Bankruptcy page 7

 

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Antoinette M. Murray
Deotor 1 Case number iii know/m
First Narne M':i:idle blame L.ast Na.'ne
»De$r:ription and vaiu.e of any property transferred » ` Date payment or Arnount of

transfer was made payment

 

George W. Derbyshire, Esq,
person \/Vno Was Paid

1825 Barnum Avenue, Suite 205

Number Street

7/24/17 $125.00; 8/9/17 $450.00; 11/8/17 $1,000.00; 11/27/17 izq,gtgpé/i)igg{lg $65&29955`00

 

 

 

3
Stratford CT 06614
City State Z|P Code
gwderbyshire@snet.net

 

Email or Websiie address

 

 

penson Who il/iado the Paymeni, ii Not You

 

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

ita No
ill Yes. Fi\i in the detailed

 

 

 

 

Description and value of any property transferred Daie payment or Amount of payment
' " ' ." ' , ~» `- ~' transfer Was v
_ made
Person Wh:) Was Paici § ‘
. », 3
Numb-er tire-et § § ""”_"`““"““"““'"
$

 

City Stata ZlP Coda

 

 

' iS. Within 2 years before you filed for bankruptcy, did you seil, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financiai affairs?

include both outright transfers and transfers made as security (suoh as the granting of a security interest or mortgage on your propertyi.
Do not include gifts and transfers that you have already listed on this statement

K] No
ill Ye@. rail in the detain

Desnrip.tion` and value of property ~ Describeany progeny or payments received Date transfer »
transferred l , -_ - ~ ' or debts paid in"ex€h§\_¥\§&. v was'rnade

 

 

Person Who Reoeived Transfer

 

Number Street 5

 

 

City State Zil-" Cocle

 

Person’s relationship to you

 

person ill/no Receivod transfer

 

Number Street

 

 

 

 

City Stai.e Z|P Cod€:

 

F’erson’s retationshio to you

Oificia| Form 107 Statement of Financiai Affairs for individuals Fiiing for Bankruptcy page 8

 

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Antoinette M. Murray

Del:)ior 1 Case number minimum
Firsi Narne M:ddle Narne Last Name

iQ.Within 19 years before you filed for bankruptcy, did you transfer any property to a self-se€tled trustor similar device of which you
are a beneficiary? (“l"nese are often called asset-protection devices.)

§§ Nc)
E} Y@s_ ran an the details

’;l§escription and value-of the 'p'.ro{;erty`€ren`sferred ~ , _ Date transfer
~ '_ ' _ . “ z wasmade

 

Name of trust

 

 

 

List Certain Financial Accounl:s, lnstmmenl:s, Safe Deposit Boxes, and Storage Units

20. Within ’l year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
No
g Yes. Fill in the details.

 

Last di digits of aceonnt number Type` of a&e<mm or Dare account was . -..Last balance before
- z ’ ` » "Jnstrument ' closed sold, rnr;nreicl7 ' closing or transfer
l ~ ’ or transferred
Name of Finanoial lnstitution
XXXX- n Checking $
Number Streei a Savings

 

n Money market

 

a Brokerage

 

 

 

 

Ci’cy State ZlP Cods: n ether
XXXX-____ _"_____ m m 3 Checking mm 5
Name of Financial |nstitution
a Sa\iings
Numl:»er street m Money market

n Brokerage

 

a Other

 

Cify S|.'ale ZSP C<>de

21~ Do you now have, or did you have within ‘l year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

ij No
C] real rm m the derails.

 

 

 

Who else had aocess to it? ` ~ k ` Des¢`;ribe the contents . . ~' .' l Do you s§iii
_ v ' ~ ' ‘ have it~?
z m No
Name of Financial lnstitution Name v n Y&S

 

 

Number Street Number Street

 

 

City Sta!e ZlP Code

 

City Stai'e ZEP Code

 

Oificia| i-"orm 107 Statement of Financial Affairs for |ndividua|s Filing for Bankruptcy page 9

 

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Antoinette M. Murray
Debior t Case number timm/ny
Firel blame Nlid<ile Narr=e L.ast Name

22. Have you stored property in a storage unit or place other than your home within 'l year before you filed for bankruptcy?
m No
iii wast r»ni m the detain

 

 

Who else _ha__$ or had assess to it? 7 " - Deo'oribe the contents y ' ." ». f' ’ ~Do you _Still
1 ` ' , ` ' ` have it?
. m No
blame of Storage Faci|ity Name = cl ye$
Number Street Number Street

 

Ciiy Stafe ZlP Code

 

 

city _ state zinc{<>de

-lden!ify Froperty you Hoid or Control for Someone £lse

23. Do you hold or control any property that someone else owns? lnclude any property you borrowed from, are storing for,
or hoid in trust for someone

DNO

El Yes. i=ill in the uarails.

 

 

 

 

 

 

 

 

,'Where is the property? ' " ',, Desorihe the property b Value
Owner’s Name §
‘ Street
Number Street
City State ZIP Code
City State ZiF Code

 

 

 

Fart 10: ' Ghre Dotalls About Emrlronmental lnformatlon

 

5 For the purpose of Part 10, the following definitions apply:

o Environmentai law means any federal, state, or local statute or reguiation concerning pollution, contamination, releases of
hazardous or toxic substances wastee, or material into the air, iancl, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material

re Site means any location, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance toxic
substance hazardous materia|, pollutant, contaminant, or similar term.

Report atl notices, releases, and proceedings that you know about, regardless of when they occurred

24.Hae any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

&No

Cl Yes,x Filr m the details.

 

 

 

 

Governmentai unit Environinental iaw, ii you know it ’ , Bate oi»notice
blame of site Governmental unit
Number Street Number Street
City State ZlP Code

 

 

Clty State ZlP Code

Oifioiai storm 107 Statement of Financial Affairs for lndividua|s Fi|ing for Bankruptcy page 10

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Antoinette M. Murray
Bebtor 1 Case number iii knell/m
Flrsi Name Nliddle Narne L.ast Name

; 25.i-lave you notified any governmental unit of any release of hazardous material?

X;.lNo

il Yes, Firl in the details

 

 

 

 

 

 

Governrnentai unit ' " Environrnental law, if you know it ' - , Date et notice
blame of site Governmentel unit
Number Street Number Street

City State ZlP Code

 

Cit`y Staie ZlP Code

za.Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders

ElNo

Cl Yes. i=iir in the dennis

 

 

 

 

 

Court or agenr:y v , » .> ` Natu re of the case Status of me
case
Case title E] v
Court Name Pendmg
m On appeal
Number Street .~ m Concluded
Ca$e number city stare zlP code

m Give Details About Your lusiness er Bonnections to Any Buslness

 

2?~ Within 4 years before you fiied for bankruptcy, did you own a business or have any of the following connections to any business?
A soie proprietor or self~employed in a trade, profession, or other activity, either full-time or part»time
il A member of a iimited liability company (LLC) or limited liability partnership (LLP)
i:l A partner in a partnership
m An officer, director, or managing executive of a corporation

a An owner of at least 5% of the voting or equity securities of a corporation

i;.l No. i\lone of the above applies. Go to Part 12.
m Yes. Check all that appiy above and fill in the details below_lor each business _'
v `Descrihe the natureot*t~he=husiness » Employer identification number

N/A .
De not include $oeia»l Security number or lTlN.

Business Name

 

 

 

 

 

 

 

 

 

Self Employcd Licensed Practica] Nurse ‘ ElN. n
Number Street b n _ b l y
flame of accountant or bookkeeper ' `. Dates business existed
, From To
City ` b State ZiP Code _ _ _ .. . _ _
Descrihe the nature of the business Employer identification number

Do not inciude Social Seourity number or,l‘}'ll\{_

 

 

Business Name

 

 

 

 

fEiN:W_m.___~Mmm__
Numbor S£reet , ' `. _' »V _ . ’ .
'Narne of~aceouotant'or bookkeeper ' _ _ __ _ “ Dates business existed
From 'i"o

 

 

 

City State ZlF Code

 

 

 

 

Oi"iioiai i~”orrn 107 Statement of Finanoial Affairs for individuals Fi|ing for Bankruptcy page 11

 

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Antoinette M. Murray
l.`)ebtor 1 Case number w /<mWn'.
Firsi N:-zrne M:ddle Narne Las! blame

 

Empioyer identifieat_ion ` number

Describe the n'atu`re'ef!he business b ` _ . , _ .
. " ; v Do not include Soci'al Se`curity number orl`l?ll\i. »

 

 

 

 

 

 

 

 

 

Business Name
Eth_______*____m____“____‘_mm__*m
Number Street b v y . :' » ' »   , v
_';=Name of accountant or bookkeeper._ ~. . »» ~» Dates business existed
From To
city stare zzP code `

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? lnclude all financial
institutions, creditors, or other parties.

K] No
EZ Yes, Fii: m the details below.

pate issued _ o

 

Nam€ MM) on / YYYv

 

Number Street

 

 

City Sta£e ZEP Code

m Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct l understand that making a false statement, concealing properly, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C.§§'l§£,1341,1519,and 3571.

   

x //f // /1/ X
»§a$"/FL,,Z?YV 1' ifw;,¢ ”/<‘: a ,.~

 

Signature of Debtor 2

 

Signature of Debtor 'l

 

__________ ! _
Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?

Did you pay or agree to pay someone who ia not an attorney to help you fill out bankruptcy forms?

K]No

Cl Yes` Narne of person l Attach the Ban!<m,otcy Pefifion Preparer”s Notic:e,
Dec!arafion, and S/'gnaiure (Official Forrn 119).

 

 

 

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MurrayMatrix
Bayview Loan Servicing

4425 Ponce De Leon Blvd.
Coral Gables, FL 33146
Capital One Bank

P.O. Box 30281

Salt Lake City, UT 84130
Chase Mortgage

P.O. Box 24696

Columbus, OH 43224

Connecticut Department of Revenue Services
Collections Unit Bankruptcy Team
450 Columbus Blvd., Ste. 1

HartFOrd, CT 96193-1837

Ditech Financial, LLC
P.O. Box 6172

Rapid city, sD, 57709

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GE Capital Retail Bank

c/o Zwicker & Associates, PC
1699 King Street, Suite 207
Enfield, CT 06082

GriFFin Hospital

139 Division Street

Derby, CT 96418

Gri¥fin Hospital
130 Division Street

Derby, CT 06418
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Internal Revenue Service
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Philadelphia, PA 19101-7346

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P.O. BOX 10497

Greenville, SC 29693

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& Morilla, LLCS

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Santander Consumer USA
5291 Ru¥e Snow Drive

North Richland Hills, TX 76189

Sikorsky Financial Credit Union
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Tobin & Marohn
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Unifund
19625 Techwoods Circle

Cincinnat, OH 45242

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Wells Fargo Dealer Services
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